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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                           )
 In re:                                                    )     Chapter 11
                                                           )
 LATAM Airlines Group S.A., et al.,1                       )     Case No. 20-11254 (JLG)
                                                           )
                                                           )
                                    Debtors.               )     Jointly Administered
                                                           )


                       STATEMENT OF FINANCIAL AFFAIRS FOR
                   LATAM AIRLINES ECUADOR S.A. (CASE NO. 20-11257)




1 The Debtors in these Chapter 11 Cases, along with each Debtor’s U.S. or local tax identification number (as
applicable), are: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (XX-XXXXXXX); Transporte Aéreo S.A.
(XX-XXXXXXX); Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM S.A. (96-847880K); LATAM
Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air Almacenes de Carga S.A. (96-
6315202); Línea Aérea Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de Integración Regional S.A. (98-
0640393); LATAM Finance Ltd. (N/A); LATAM Airlines Ecuador S.A. (XX-XXXXXXX); Professional Airline Cargo
Services, LLC (XX-XXXXXXX); Cargo Handling Airport Services, LLC (XX-XXXXXXX); Maintenance Service Experts,
LLC (XX-XXXXXXX); Lan Cargo Repair Station LLC (XX-XXXXXXX); Prime Airport Services Inc. (XX-XXXXXXX);
Professional Airline Maintenance Services LLC (XX-XXXXXXX); Connecta Corporation (XX-XXXXXXX); Peuco Finance
Ltd. (N/A); Latam Airlines Perú S.A. (XX-XXXXXXX); Inversiones Aéreas S.A. (20-341843996); Holdco Colombia II
SpA (XX-XXXXXXX); Holdco Colombia I SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX); Lan Cargo
Inversiones S.A. (XX-XXXXXXX); Lan Cargo Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (85- 7753009);
Professional Airlines Services Inc. (XX-XXXXXXX); Piquero Leasing Limited (N/A); TAM S.A. (N/A); TAM Linhas
Aéreas S.A. (65- 0773334); Aerolinhas Brasileiras S.A. (XX-XXXXXXX); Prismah Fidelidade Ltda. (N/A); Fidelidade
Viagens e Turismo S.A. (XX-XXXXXXX); TP Franchising Ltda. (N/A); Holdco I S.A. (XX-XXXXXXX) and Multiplus
Corredora de Seguros Ltda. (N/A). For the purpose of these Chapter 11 Cases, the service address for the Debtors
is: 6500 NW 22nd Street Miami, FL 33131.
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

In re:                                                           Chapter 11

LATAM Airlines Group S.A., et al.,                               Case No.: 20-11254 (JLG)

                            Debtors.1                            Jointly Administered


         GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
           AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        On May 26, 2020 (the “Initial Petition Date”), LATAM Airlines Group S.A. (“LATAM
 Parent”) and 28 of its affiliated debtors and debtors in possession in the above-captioned Chapter
 11 cases (each an “Initial Debtor” and, collectively, the “Initial Debtors”) commenced voluntary
 cases (the “Initial Chapter 11 Cases”) under chapter 11 of title 11, United States Code (the
 “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New
 York (the “Bankruptcy Court”).

         On July 7, 2020 and July 9, 2020 (each, a “Subsequent Petition Date” and, together with
 the Initial Petition Date, as applicable to each Debtor (as defined below), the “Petition Date”),
 additional LATAM affiliates (the “Subsequent Debtors” and, together with the Initial Debtors,
 the “Debtors”) filed voluntary petitions under chapter 11 of the Bankruptcy Code (the
 “Subsequent Chapter 11 Cases” and, together with the Initial Chapter 11 Cases, the “Chapter 11
 Cases”).



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       The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s U.S. or local tax
       identification number (as applicable), are: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (98-
       0058786); Transporte Aéreo S.A. (XX-XXXXXXX); Inversiones Lan S.A. (XX-XXXXXXX); Technical Training
       LATAM S.A. (96-847880K); LATAM Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX);
       Fast Air Almacenes de Carga S.A. (XX-XXXXXXX); Línea Aérea Carguera de Colombia S.A. (XX-XXXXXXX);
       Aerovías de Integración Regional S.A. (XX-XXXXXXX); LATAM Finance Ltd. (N/A); LATAM Airlines Ecuador
       S.A. (XX-XXXXXXX); Professional Airline Cargo Services, LLC (XX-XXXXXXX); Cargo Handling Airport Services,
       LLC (XX-XXXXXXX); Maintenance Service Experts, LLC (XX-XXXXXXX); Lan Cargo Repair Station LLC (83-
       0460010); Prime Airport Services Inc. (XX-XXXXXXX); Professional Airline Maintenance Services LLC (37-
       1910216); Connecta Corporation (XX-XXXXXXX); Peuco Finance Ltd. (N/A); Latam Airlines Perú S.A. (52-
       2195500); Inversiones Aéreas S.A. (20-341843996); Holdco Colombia II SpA (XX-XXXXXXX); Holdco Colombia
       I SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX); Lan Cargo Inversiones S.A. (XX-XXXXXXX); Lan
       Cargo Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (XX-XXXXXXX); Professional Airlines Services Inc. (65-
       0623014); Piquero Leasing Limited (N/A); TAM S.A. (N/A); TAM Linhas Aéreas S.A. (XX-XXXXXXX);
       Aerolinhas Brasileiras S.A. (XX-XXXXXXX); Prismah Fidelidade Ltda. (N/A); Fidelidade Viagens e Turismo S.A.
       (XX-XXXXXXX); TP Franchising Ltda. (N/A); Holdco I S.A. (XX-XXXXXXX) and Multiplus Corredora de Seguros
       Ltda. (N/A). For the purpose of these Chapter 11 cases, the service address for the Debtors is: 6500 NW 22nd
       Street Miami, FL 33131.
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       The Debtors continue to operate their businesses and manage their properties as debtors
and debtors in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The
Chapter 11 Cases have been consolidated for procedural purposes only and are being jointly
administered under case number 20-11254 (JLG).

       The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements”) were prepared pursuant to Bankruptcy Code section 521 and Rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by management of
the Debtors with unaudited information available as of the applicable Petition Date.

        These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) are incorporated by reference in, and comprise an integral part of, each of
the Debtors’ Schedules, sub-Schedules, Statements, sub-Statements, exhibits, and continuation
sheets, and should be referred to in connection with any review of the Schedules and Statements.
Disclosure of information in one Schedule, sub-Schedule, Statement, sub-Statement, exhibit, or
continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, Statement, exhibit, or continuation sheet.

      The Schedules and Statements and these Global Notes should not be relied upon by
any persons for information relating to current or future financial conditions, events, or
performance of any of the Debtors.

Reservation of Rights. The Debtors’ Chapter 11 Cases are large and complex. The Debtors’
management has made every reasonable effort to ensure that the Schedules and Statements are as
accurate and complete as possible, based on the information that was available to them at the
time of preparation.

        The Debtors have made reasonable efforts to schedule the assets and liabilities, required
financial information, and cash disbursements according to the appropriate Debtor entity.
However, because LATAM’s accounting systems and practices were developed for consolidated
reporting purposes, it is possible that not all scheduled information is attributed or recorded with
the correct Debtor entity on these Schedules and Statements.

       Subsequent information or discovery may result in material changes to these Schedules
and Statements, and inadvertent errors or omissions may have occurred. As the Schedules and
Statements contain unaudited information, which is subject to further review, verification, and
potential adjustment, there can be no assurance that these Schedules and Statements are accurate
and/or complete. Accordingly, the Debtors reserve all rights to supplement and amend the
Schedules and Statements.

       The Debtors have made reasonable efforts to characterize, classify, categorize or
designate the claims, assets, executory contracts, unexpired leases, and other items reported in
the Schedules and Statements correctly. Due to the complexity and size of the Debtors’
businesses, however, the Debtors may have improperly characterized, classified, categorized, or
designated certain items. In addition, certain items reported in the Schedules and Statements


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could be included in more than one category. In those instances, one category has been chosen
to avoid duplication. Further, the designation of a category is not meant to be wholly inclusive
or descriptive of the rights or obligations represented by such item.

        Nothing contained in the Schedules and Statements or these Global Notes shall constitute
an admission or a waiver of rights with respect to these Chapter 11 Cases, including, but not
limited to, any issues involving substantive consolidation for plan purposes, subordination,
and/or causes of action arising under the provisions of Chapter 5 of the Bankruptcy Code and
other relevant non-bankruptcy laws to recover assets or avoid transfers. For the avoidance of
doubt, listing a claim on Schedule D as “secured,” on Schedule E as “priority,” on Schedule F as
“unsecured priority,” or listing a contract or lease on Schedule G as “executory” or “unexpired,”
does not constitute an admission by the Debtors of the legal rights of the claimant and/or
contractual counterparty, or a waiver of a Debtor’s right to recharacterize or reclassify such
claim or contract. Failure to designate a claim on a given Debtor’s Schedules as “disputed,”
“contingent,” or “unliquidated” does not constitute an admission by the Debtors that such
amount is not “disputed,” “contingent,” or “unliquidated” or that such claim is not subject to
objection. The Debtors reserve their respective rights to dispute, or assert offsets, setoffs, or
defenses to, any claim reflected on the Schedules as to the nature, amount, liability, or status or
to otherwise subsequently designate any claim as disputed, contingent, and/or unliquidated.

1.      Basis of Presentation. LATAM Parent historically prepared consolidated quarterly and
annual consolidated financial statements that were audited annually and included all of the
Debtors, as well as affiliated non-Debtor entities (together, “LATAM”). Unlike the consolidated
financial statements, the Schedules and Statements generally reflect the assets and liabilities of
each Debtor on a non-consolidated basis. Accordingly, the amounts listed in the Schedules and
Statements will likely differ, at times materially, from the consolidated financial reports prepared
historically by LATAM.

       Although the Schedules and Statements may, at times, incorporate information prepared
in accordance with IFRS (International Financial Reporting Standards), the Schedules and
Statements neither purport to represent nor reconcile to financial statements otherwise prepared
and/or distributed by the Debtors in accordance with IFRS.

2.     Reporting Date. Each Debtor operates on a fiscal year ending on December 31st
annually. All asset and liability information, except where otherwise noted, is provided as of the
applicable Petition Date.

3.     Currency. All amounts are reflected in U.S. dollars, which LATAM uses as its reporting
currency.

4.      Estimates and Assumptions. The preparation of the Schedules and Statements required
the Debtors to make estimates and assumptions that affected the reported amounts of certain
assets and liabilities, the disclosure of certain contingent assets and liabilities, and the reported
amounts of revenue and expense. Actual results could differ materially from these estimates.
The Debtors reserve the right to amend the reported amounts of assets, liabilities, revenues, and
expenses to reflect changes in those estimates or assumptions.


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5.       Totals. All totals that are included in the Schedules and Statements represent totals of all
known amounts. To the extent there are unknown or undetermined values or, conversely, claims
listed as unliquidated, contingent and/ or disputed, the actual totals may be different than the
listed totals.

6.     Undetermined, To be Determined or Unknown Amounts. The description of an
amount as “undetermined,” “to be determined,” or “unknown” is not intended to reflect upon the
materiality of such amount. Certain amounts may be clarified during the course of the
Chapter 11 Cases.

7.      Asset Presentation and Valuation. The Debtor assets presented are based on values
consistent with their books and records. These values do not purport to represent the ultimate
value that would be received in the event of a sale, and may not represent economic value as
determined by an appraisal or other valuation technique. As it would be prohibitively expensive
and an inefficient use of estate assets for the Debtors to obtain current economic valuations for
all of their assets, unless otherwise noted, the carrying value on the Debtors’ books (e.g., net
book value), rather than current economic values, is reflected on the Schedules and Statements.

8.      Cash Management. The Debtors use an integrated, centralized cash management system
to facilitate the collection, concentration and disbursement of the various Debtors’ funds in
approximately twenty-eight countries around the world. As a result, certain payments in the
Schedules and Statements may have been made prepetition by one entity on behalf of another
entity through the operation of the consolidated cash management system. A description of the
Debtors’ prepetition cash management system is contained in the Motion of the Debtors for
Interim and Final Orders Authorizing Continued Use of Cash Management System [Docket No.
19] and further detail is contained in the Motion to Authorize Debtors' Motion for Entry of
Interim and Final Orders Directing Certain Orders in the Chapter 11 Cases of LATAM Airlines
Group S.A. et al. Be Made Applicable to Subsequent Debtors [Docket No. 484].

9.       Contingent Assets and Causes of Action. Despite their reasonable efforts to identify all
known assets, the Debtors may not have listed all of their causes of action or potential causes of
action against third parties as assets in their Schedules and Statements, including, but not limited
to, avoidance actions arising under Chapter 5 of the Bankruptcy Code and actions under other
relevant non-bankruptcy laws to recover assets. The Debtors reserve all of their rights with
respect to any causes of action, avoidance actions, controversy, right of set-off, cross claim,
counterclaim, or recoupment, and any claim in connection with any contract, breach of duty
imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation,
liability, damage, judgment, account, defense, power, privilege, license, and franchise of any
kind or character whatsoever, known, unknown, fixed or contingent, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertible directly or derivatively, whether arising before, on, or after the Petition
Date, in contract or in tort, in law or in equity, or pursuant to any other theory of law they may
have, and neither these Global Notes nor the Schedules and Statements shall be deemed a waiver
of any such claims, causes of actions, or avoidance actions or in any way prejudice or impair the
assertion of such claims.


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         The Debtors may also possess contingent and unliquidated claims against affiliated
entities (both Debtor and non-Debtor) for various financial accommodations and similar benefits
they have extended from time to time, including, but not limited to, contingent and unliquidated
claims for contribution, reimbursement, and/or indemnification arising from various
(i) guarantees, (ii) indemnities, (iii) intercompany loans, (iv) tax-sharing agreements,
(v) warranties, (vi) operational and servicing agreements, (vii) shared service agreements, and
(viii) other arrangements.

10.     Guarantees and Other Secondary Liability Claims. The Debtors have used their
reasonable best efforts to locate and identify guarantees and other secondary liability claims
(collectively, “Guarantees”) in each of their executory contracts, unexpired leases, secured
financings, debt instruments, and other similar agreements. Where such Guarantees have been
identified, they have been included in the relevant Schedules of the Debtor or Debtors affected
by such Guarantees. Where a Guarantee exists, co-obligors are listed on a Debtor’s Schedule H
to the extent the Debtor is either the primary obligor or the guarantor of the relevant obligation.
To the extent that a Debtor is a guarantor, such Guarantees are also listed on its Schedule D or
E/F, as appropriate, and listed as “contingent” and “unliquidated” unless otherwise specified.
Further, it is possible that certain Guarantees embedded in the Debtors’ executory contracts,
unexpired leases, secured financings, debt instruments and other such agreements may have been
inadvertently omitted. Thus, the Debtors reserve their rights to amend the Schedules and
Statements to the extent that additional Guarantees are identified. In addition, the Debtors
reserve the right to amend the Schedules and Statements to recharacterize, reclassify, add, or
remove any such contract or claim.

11.     Pledged Assets. A significant amount of the assets listed on the Debtors’ Schedule A/B
have been pledged as collateral by the Debtors. Assets pledged as collateral include, among
other things, cash, securities, inventories, equipment, aircraft, engines, spare parts, equity
interests in subsidiaries, contract rights, and other related assets.

       In certain instances, LATAM Parent or another Debtor may be a co-obligor or guarantor
with respect to the obligations of another Debtor or non-Debtor, which obligation or guarantee is
secured by property pledged by the Debtor. To the extent that the Debtor no longer holds title to
the pledged collateral securing the obligation or guarantee, such obligation or guarantee is
considered unsecured and is listed on that Debtor’s Schedule F.

12.      Leases and Executory Contracts. Certain leases relating to LATAM’s fleet are
reflected twice in a Debtor’s Schedules – once in the Debtor’s Schedule G as an executory
contract and again in the in its Schedule D or F, as appropriate, as a contingent, unliquidated
claim on account of the Debtor’s corresponding obligations under the lease or contract. Nothing
herein or in the Schedules or Statements shall be construed as a concession, admission or
evidence as to the determination of the legal status of any leases identified in the Schedules or
Statements, including whether such leases: (i) constitute an executory contract within the
meaning of section 365 of the Bankruptcy Code or other applicable law; or (ii) have not expired
or been terminated or otherwise are not current in full force and effect, and the Debtors reserve
all of their rights.


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13.      Aircraft. As of the Initial Petition Date, the Initial and Subsequent Debtors together
operated 340 aircraft, the bulk of which were not owned directly by the Debtors and are therefore
not reflected as assets on their respective Schedule A/B. These 340 aircraft comprised the
entirety of LATAM’s fleet, with the Initial Debtors' fleet consisting of 320 aircraft and the
Subsequent Debtors’ fleet consisting of the remaining 20 aircraft. As of the Initial Petition Date,
the Initial Debtors subleased 160 of the aircraft in their fleet to the Subsequent Debtors.

        As to the 320 aircraft comprising the Initial Debtors’ fleet, as of the Initial Petition Date:
(a) 30 aircraft were directly owned by Initial Debtors; (b) 5 aircraft were owned by trusts (each,
a “Leasing Trust”) in which certain of the Initial Debtors held the beneficial interests (see Global
Note in response to Statement Question 12 for more detail regarding the Leasing Trusts); and
(c) the remaining 285 aircraft were leased by the Initial Debtors through a combination of 187
finance and tax leases and 98 operating leases with third parties.

        As to the 20 aircraft comprising the Subsequent Debtors’ fleet, as of their respective
Petition Dates: (a) 2 aircraft were directly owned by Subsequent Debtors; and (b) the remaining
18 aircraft were leased by the Subsequent Debtors through a combination of 15 finance and tax
leases and 3 operating leases with third parties.

        Under a finance or tax lease, the Debtor leases an aircraft through a separate entity (a
Special Purpose Vehicle, “SPV”) that is the legal owner of the aircraft. The SPV generally
finances the acquisition of the aircraft by issuing debt to a third party lender. To the extent that a
Debtor guarantees the financial obligations of an SPV to the third party lender, such guarantee is
listed in accordance with Global Note 10 above. To the extent that a Debtor owns an SPV or
holds the beneficial interest in a Leasing Trust, such ownership interest will be listed on that
Debtor’s Schedule A/B without reference to the underlying assets of the SPV or trust. The
Debtor may then operate the aircraft or sublease the aircraft to another Debtor or non-Debtor.

        Under an operating lease, the Debtor leases an aircraft directly from a third party lessor,
and in some occasions, may sublease the aircraft to another Debtor or non-Debtor.

       To the extent that a Debtor leases an aircraft from a non-Debtor lessor, either from an
SPV or a third party under an operating lease, such lease will be reflected in the Debtor’s
Schedule F, as a contingent and unliquidated claim, and also in its Schedule G. This treatment
likewise applies to situations where a Debtor leases or subleases an aircraft from another Debtor.

14.     Intercompany Transactions. Net intercompany balances between a given Debtor and
other LATAM entities as of the applicable Petition Date are reported on such Debtor’s Schedules
in response to Question AB77 (Other property of any kind not already listed) for net
intercompany receivables and Question F for any net intercompany payables. Furthermore,
revenues listed in Statement Part 1 (Income) include gross intercompany revenue and do not
reflect any intercompany setoffs or eliminations.

15.    Liabilities. Some of the scheduled liabilities are unknown, contingent, and/or
unliquidated at this time. In such cases, the amounts are listed as “unknown,” “to be


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determined,” or “undetermined.” Further, liabilities such as certain deferred liabilities, accruals,
or general reserves are not included as they are general estimates and do not represent specific
claims as of the Petition Date for each Debtor. Accordingly, the total amounts listed for some
categories of liabilities in the Schedules and the Statements may not be equal to the aggregate
amount of the Debtors’ total liabilities as noted on any financial statements issued prior to the
Petition Date.

        The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all rights to
dispute or challenge the validity of any asserted claims under section 503(b)(9) of the
Bankruptcy Code or the characterization of the structure of any such transaction or any document
or instrument related to any creditor’s claim.

16.    Creditor Facilities. Although there may be multiple parties that hold a portion of the
debt comprising the Debtors’ prepetition credit facilities and notes, only the administrative
agents and indenture trustees, as applicable, have been listed for purposes of Schedule D, E/F,
and H.

17.   Confidentiality. The home addresses of most of the Debtors’ current and former
employees (including directors and officers) may reflect the office locations of the employees.

18.     First Day Orders. The Bankruptcy Court has authorized (each, a “First Day Order”)
the Debtors to pay, in whole or in part, various outstanding prepetition claims, including but not
limited to, payments relating to the Debtors’ employee wages and compensation, severance,
benefits, and reimbursable business expenses; goods and services ordered prepetition but
received post-petition; customer programs and obligations; insurance obligations; and pre-
petition taxes and fees. Given that certain of these claims are anticipated to be paid in
accordance with the First Day Orders, such claims may not be listed in the Schedules, or may
otherwise be listed as “unknown” or “to be determined.”

       In addition, the Bankruptcy Court has authorized the Debtors to pay certain prepetition
fuel vendors, critical & foreign vendors, and lienholders. Accordingly, the scheduled claims
may not reflect those prepetition expenses that have been or will be paid in accordance with the
First Day Orders.

        The Debtors reserve their rights to object to any listed claims on the ground that, among
other things, such claims have already been satisfied pursuant to a First Day Order. The estimate
of claims set forth in the Schedules may not reflect assertions by the Debtors’ creditors of a right
to have such claims paid or reclassified under the Bankruptcy Code or orders of the Bankruptcy
Court.

19.     Excluded Assets and Liabilities. The Debtors believe that they have identified, but did
not necessarily value, all material categories of assets and liabilities in the Schedules. The
Debtors have excluded the following items which may be included in their IFRS financial
statements from the Schedules: operating leases, accrued salaries, employee benefit accruals,
and certain other accruals, capitalized interest, debt acquisition costs, restricted cash, goodwill,
financial instruments, air traffic liabilities, certain other assets, and deferred revenues and gains.

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The Debtors also have excluded rejection damage claims of counterparties to executory contracts
and unexpired leases that may be rejected, to the extent such damage claims exist. Other
immaterial assets and liabilities may also have been excluded.

20.      Intellectual Property Rights. Exclusion of certain intellectual property shall not be
construed to be an admission that those intellectual property rights have been sold, abandoned,
terminated, assigned or otherwise transferred pursuant to a sale, acquisition, or other transaction,
or otherwise have expired by their terms. Conversely, inclusion of certain intellectual property
shall not be construed to be an admission that those intellectual property rights have not been
sold, abandoned, terminated, assigned or otherwise transferred pursuant to a sale, acquisition, or
other transaction, or otherwise have not expired by their terms. Accordingly, the Debtors reserve
all of their rights as to the legal status of all intellectual property rights.

21.     Liens. The inclusion on Schedule D of creditors is not an acknowledgement of the
validity, extent, or priority of any liens, and the Debtors reserve their right to challenge such
liens and the underlying claims on any ground whatsoever. A careful review of the applicable
agreements and other relevant documents is necessary for a complete description of the collateral
and the nature, extent and priority of any liens. Nothing in these Global Notes or the Schedules
and Statements shall be deemed a modification or interpretation of the terms of such agreements
or an acknowledgment of same. Certain liens may have been inadvertently marked as disputed
but had previously been acknowledged in an order of the Court as not being disputed by the
Debtors. It is not the Debtors’ intent that Schedules be construed to supersede any orders entered
by the Bankruptcy Court.

22.    Insiders. For the purposes of their responses to Statement Question 28, the Debtors
have listed the current officers and directors for each individual Debtor entity to the extent
available based on current records. For the purposes of Statement Question 29, only certain
Debtors, including LATAM Parent, have listed the names of its former officers and directors.
For purposes of Statement Question 4 and 30, the Debtors have only included the following as
“insiders,” consistent with LATAM’s financial reporting obligations to the U.S. Security
Exchange Commission: all members of the board of directors of LATAM and LATAM’s
principal officers (members of management who are responsible for determining the
Company’s operating policies and financial undertakings, including Vice-Presidents, Chief
Executives and Senior Directors).

        Persons listed as “insiders” have been included for informational purposes only and do
not constitute an admission that any such individuals are insiders for purposes of the
Bankruptcy Code or otherwise. The Debtors do not take any position with respect to: (a) such
person’s influence over the control of the Debtors; (b) the management responsibilities or
functions of such individual; (c) the decision-making or corporate authority of such individual;
or (d) whether such individual could successfully argue that he or she is not an “insider” under
applicable law, including the federal securities laws, or with respect to any theories of liability
or for any other purpose.

23.     Signatory. The Schedules and Statements have been signed by Ramiro Alfonsín Balza,
in his capacity as Chief Financial Officer of LATAM. In reviewing and signing the Schedules


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and Statements, he has necessarily relied upon the efforts, statements and representations of
various of the Debtors’ personnel and professionals. He has not (and could not have) personally
verified the accuracy of each such statement and representation, including statements and
representations concerning amounts owed to creditors and their addresses.

24.    COVID-19. The Debtors have filed these Schedules and Statements amidst the
unprecedented circumstances arising from the global COVID-19 pandemic. Such circumstances
have complicated the preparation of these Schedules and Statements and Global Notes in as
much as the Debtor’s management and outside professionals have been limited to working
remotely and have been unable to meet in person.

25.     Limitation of Liability. The Debtors and their officers, employees, agents, attorneys,
and financial advisors do not guarantee or warrant the accuracy, completeness, or correctness of
the data that is provided herein and shall not be liable for any loss or injury arising out of or
caused, in whole or in part, by the acts, errors, or omissions, whether negligent or otherwise, in
procuring, compiling, collecting, interpreting, reporting, communicating, or delivering the
information contained herein. The Debtors and their officers, employees, agents, attorneys, and
financial advisors expressly do not undertake any obligation to update, modify, revise, or re-
categorize the information provided herein or, except to the extent required by applicable law or
an order of the Bankruptcy Court, to notify any third party should the information be updated,
modified, revised, or re-categorized. In no event shall the Debtors or their officers, employees,
agents, attorneys, and financial advisors be liable to any third party for any direct, indirect,
incidental, consequential, or special damages (including, but not limited to, damages arising from
the disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused.

                              Schedules of Assets and Liabilities
Schedule A/B Notes.

   •   General. Each Debtor’s assets in Schedule A/B are listed at net book value as of the
       Petition Date, unless otherwise noted, and may not necessarily reflect the market or
       recoverable value of these assets as of the Petition Date.

   •   Cash and Cash Equivalents (AB1 through AB5). The reported bank balances (including
       investments and overnight accounts) and cash on hand include cash held in various
       currencies, converted into U.S. dollars per the Debtors’ accounting policies as of the
       Petition Date. Cash on hand includes cash held at airport and office locations, as well as
       petty cash for incidental expenses. The Debtors excluded accounts with no current
       balances that may be seldomly used or inactive.

   •   Deposits (AB7). The Debtors have made reasonable efforts to identify all deposits.
       However, the Schedules may not reflect an exhaustive list of deposits. The amounts
       listed by the Debtors in response to AB7 include deposits by Debtors that may have been
       offset and withdrawn post-petition by the counterparty.




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  •   Prepayments (AB8). Included in these amounts are those pre-delivery payments (PDPs)
      made by the Debtors pursuant to certain aircraft purchase agreements with Airbus and
      Boeing in relation to future aircraft deliveries. To the extent that a PDP was financed by
      a Debtor, such financing is reflected in Schedules D, E/F, G, or H, where applicable. The
      Debtors also included in response to AB8 prepayments related to travel bookings, for
      which the Debtors make advance payments to certain third parties

  •   Accounts Receivable (AB11). Accounts receivable include ordinary course receivables,
      and may also include any net credits in favor of the Debtors with respect to their trade
      payables.

  •   Non-publicly traded stock (AB15). Ownership interests in subsidiaries, trusts, and other
      affiliates have been identified in AB15 in an unknown value, as the fair market value of
      such ownership interest would be difficult to ascertain. Each Debtor’s Schedule A/B
      reflects only those subsidiaries, trusts, and other LATAM entities in which the Debtor has
      a direct ownership interest.

  •   Inventory (AB19 through AB26). Items listed in AB19-26 are scheduled according to
      their net book value. The Debtors have made reasonable efforts to identify or estimate all
      inventory included in AB21 that was purchased within the 20 days preceding the Petition
      Date; however, it is possible that inadvertent errors or omissions may have occurred in
      identifying these amounts.

  •   Office Furniture, Fixtures and Equipment (AB38 through AB45). Items listed in AB38-
      45 are scheduled according to their net book value. The Debtors have made reasonable
      efforts to identify all assets; however, it is possible that inadvertent errors,
      misclassifications, or omissions may have occurred, or that property of de minimis value
      is not included in response to this question.

  •   Machinery, Equipment, and Vehicles (AB46 through AB53). Aircraft and engines listed
      by a Debtor in response to AB47-50 reflect only those aircraft and engines in which that
      Debtor holds a direct ownership interest, and are listed according to their net book value.
      To the extent that a Debtor holds an ownership interest in a subsidiary or Leasing Trust
      that in turn holds title to an aircraft or engine, the Debtor’s Schedule A/B will reflect only
      the ownership interest in the subsidiary or Leasing Trust and not the underlying aircraft
      or engine. Those aircraft and engines leased by a Debtor, either from a subsidiary,
      parent, or third party, are reflected on the Debtor’s Schedule G as an executory contract,
      with the associated obligations under the lease listed on the Debtor’s Schedule F. The
      Debtors have made reasonable efforts to identify all assets; however, it is possible that
      inadvertent errors, misclassifications, or omissions may have occurred, or that property of
      de minimis value is not included in response to this question.

  •   Intangibles and Intellectual Property (AB60 through AB65). The Debtors have not listed
      or assigned any value for their goodwill. The Debtors do not ascribe in their books and
      records any value with respect to certain items listed. Therefore, such items’ net book
      and current value are marked as unknown.

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   •   Tax Refunds and Unused Net Operating Losses (“NOL”) (AB72). Under Brazilian and
       Chilean tax law, the tax year in which each NOL accrued is not relevant for the
       application of the NOLs, which continue to accumulate and do not expire. The Debtors
       therefore did not list the tax year in scheduling certain NOLs.

   •   Other Property of Any Kind Not Already Listed (AB77). Each Debtor has attached an
       exhibit, where applicable, listing that Debtor’s intercompany receivables, on a net basis,
       with all other LATAM entities, both Debtors and non-Debtors. The intercompany
       receivables reflect amounts owed pursuant to various ordinary course transactions
       between LATAM entities. The Debtors have made all reasonable efforts to schedule all
       outstanding obligations between each Debtor and other LATAM entities. Nonetheless,
       the list may be incomplete.

Schedule D Notes.

   •   Creditors’ claims on Schedule D arose, or were incurred, on various dates. In certain
       instances, the date on which such claim arose may be an open issue of fact.

   •   Except as otherwise agreed in accordance with a stipulation and order entered by the
       Bankruptcy Court, the Debtors reserve their rights to dispute or challenge the validity,
       perfection, or immunity from avoidance of any lien listed on Schedule D purported to be
       granted to a secured creditor or perfected in any specific asset.

   •   Except as specifically stated herein, lessors of real property and equipment, utility
       companies, and any other parties which may hold security deposits or other security
       interests, have not been listed on Schedule D. The Debtors have also not listed on
       Schedule D any parties whose claims may be secured through rights of setoff, deposits, or
       advance payments.

   •   Certain claims are listed on Schedule D as “unliquidated” because the value of the
       collateral securing such potential claims is unknown. Moreover, although the Debtors
       may have scheduled claims of various creditors as secured claims, the Debtors reserve all
       rights to dispute or challenge the secured nature of any creditor’s claim or the
       characterization of the structure of any transaction or any document or instrument
       (including, without limitation, any intercompany agreement) related to such creditor’s
       claim.

   •   The Debtors have not included on Schedule D the claims of any parties that may believe
       their claims are secured through setoff rights or inchoate statutory lien rights. The
       amounts outstanding under the Debtors’ prepetition secured credit facilities and secured
       notes reflect the approximate principal amounts as of the Petition Date.

   •   The descriptions provided on Schedule D are intended only as a summary. Reference to
       the applicable loan agreements and related documents is necessary for a complete
       description of the collateral and the nature, extent and priority of any liens. Nothing in


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       these Global Notes or in the Schedules and Statements shall be deemed a modification,
       interpretation or an acknowledgment of the terms of such agreements or related
       documents.

Schedule E/F Notes.

   •   The Debtors have made reasonable efforts to report all priority and general unsecured
       claims against the Debtors on Schedule E/F based on the Debtors’ books and records as
       of the Petition Date. However, the actual value of claims against the Debtors may vary
       significantly from the represented liabilities. Moreover, because the Debtors have
       scheduled all claims in U.S. dollars, foreign creditors asserting claims in local currencies
       may disagree with the scheduled amounts due to differences in applied conversion rate.
       Parties in interest should not accept that the listed liabilities necessarily reflect the correct
       amount of any unsecured creditor’s allowed claims or the correct amount of all unsecured
       claims. Similarly, parties in interest should not anticipate that recoveries in these cases
       will reflect the relationship of the aggregate asset values and aggregate liabilities set forth
       in the Schedules. Parties in interest should consult their own professionals and advisors
       with respect to pursuing a claim. Although the Debtors and their professionals have
       generated financial information and data the Debtors believe to be reasonable, actual
       liabilities (and assets) may deviate significantly from the Schedules due to certain events
       that occur throughout these Chapter 11 Cases.

   •   The claims listed on Schedule E/F arose or were incurred on various dates. In certain
       instances, the date on which a claim arose may be unknown or subject to dispute.
       Although reasonable efforts have been made to determine the date upon which claims
       listed in Schedule E/F was incurred or arose, fixing that date for each claim in Schedule
       E/F would be unduly burdensome and cost-prohibitive and, therefore, the Debtors have
       not listed a date for each claim listed on Schedule E/F.

   •   On Schedule F, each Debtor has attached an exhibit listing that Debtor’s intercompany
       payables, on a net basis, with all other LATAM entities, both Debtors and non-Debtors.
       The intercompany payables reflect amounts owed pursuant to various ordinary course
       transactions between LATAM entities. The Debtors have made all reasonable efforts to
       schedule all outstanding obligations between each Debtor and other LATAM entities.
       Nonetheless, the list may be incomplete.

   •   The Bankruptcy Court has authorized the Debtors to pay, in whole or in part, prepetition
       claims relating to the Debtors’ employee wages and compensation, benefits, and
       reimbursable business expenses. Accordingly, a Debtor’s Schedule E/F only reflects
       those employee related claims due and owing as of the Petition Date for which the
       Debtors did not obtain relief from the Bankruptcy Court to satisfy in whole or in part.

   •   Schedule E/F also contains information regarding pending litigation involving the
       Debtors. However, certain omissions may have occurred. In the case of the Subsequent
       Debtors only, certain litigations require that a surety bond or a bank guarantee be posted
       by the Debtor, and in such cases, these financial instruments are listed on the Debtor’s


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       Schedule E/F while the associated litigations are excluded to avoid duplication. The
       inclusion of any legal action in the Schedules and Statements does not constitute an
       admission by the Debtors of any liability, the validity of any litigation, or the amount of
       any potential claim that may result from any claims with respect to any legal action and
       the amount and treatment of any potential claim resulting from any legal action currently
       pending or that may arise in the future.

   •   All asserted or potential litigation-related claims referenced in Schedule E/F are
       contingent, unliquidated, and disputed. Specific disclosure regarding asserted or
       potential litigation-related claims may be subject to certain disclosure restrictions and/or
       may be of a peculiarly personal and private nature. The Debtors continue to research any
       possible restrictions with respect to disclosure of asserted or potential litigation-related
       claims. The Debtors will amend or supplement these Schedules and Statements as
       necessary or appropriate in this regard.

   •   Certain litigations reflected as claims for or against one Debtor may relate to one or more
       of the other Debtors. The Debtors have made commercially reasonable efforts to record
       these actions in the Schedules and Statements of each Debtor that is party to the action.
       For the Initial Debtors, where this was not possible, LATAM Parent was listed as the
       defendant. Moreover, given the number of litigations involving Debtors, the Schedules
       do not contain specific details of every litigation, such as the names and addresses of each
       party to a given litigation.

   •   In the ordinary course of business, the Debtors generally receive invoices for goods and
       services after the delivery of such goods or services. As of the filing of the Schedules
       and Statements, the Debtors had not received all invoices for payables, expenses, or
       liabilities that may have accrued before the Petition Date. Furthermore, payments to
       critical and foreign vendors, lienholders and fuel suppliers made subsequent to the filing
       of these Schedules will not reflected in these Schedules. The Debtors reserve the right,
       but are not required, to amend Schedules E/F if they receive such invoices and/ or make
       such payments. The claims of individual creditors are generally listed at the amounts
       recorded on the Debtors’ books and records and may not reflect all credits or allowances
       due from the creditor. The Debtors reserve all of their rights concerning credits or
       allowances.

Schedule G Notes.

   •   The Debtors hereby reserve all rights to dispute the validity, status, or enforceability of
       any contracts, agreements or leases set forth in Schedule G and to amend or supplement
       Schedule G as necessary. Additionally, the placing of a contract or lease onto Schedule
       G shall not be deemed an admission that such contract is an executory contract or
       unexpired lease, or that it is necessarily a binding, valid, and enforceable contract. Any
       and all of the Debtors’ rights, claims and causes of action with respect to the contracts
       and agreements listed on Schedule G are hereby reserved and preserved. In addition, the
       Debtors are continuing their review of all relevant documents and expressly reserve their
       right to amend all Schedules at a later time as necessary and/or to challenge the


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       classification of any agreement as an executory contract or unexpired lease in any
       appropriate filing.

   •   In some cases, the same contract counterparty appears multiple times in a Debtor’s
       Schedule G. This multiple listing is generally intended to reflect distinct agreements
       between the applicable Debtor and such counterparty, however, due to the magnitude of
       data, it is possible that a multiple listing may be the result of duplicates.

   •   Omission of a contract or agreement from Schedule G does not constitute an admission
       that such omitted contract or agreement is not an executory contract or unexpired lease.
       The Debtors’ rights under the Bankruptcy Code with respect to any such omitted
       contracts or agreements are not impaired by the omission. A Debtor’s Schedule G may
       be amended at any time to add or remove, as the case may be, any omitted contract,
       agreement or lease.

   •   The contracts, agreements, and leases listed on Schedule G may have expired or may
       have been rejected, terminated, assigned, modified, amended, and/or supplemented from
       time to time by various amendments, change orders, restatements, waivers, estoppel
       certificates, letters, and other documents, instruments, and agreements that may not be
       listed therein or that may be listed as a single entry. The Debtors expressly reserve their
       rights to challenge whether such related materials constitute an executory contract, a
       single contract or agreement, or multiple, severable, or separate contracts.

   •   Certain of the leases listed on Schedule G may contain renewal options, options to
       purchase, rights of first refusal, and other miscellaneous rights. Such rights, powers,
       duties, and obligations are not set forth on Schedule G. Certain of the agreements listed
       on Schedule G may also be in the nature of conditional sales agreements or secured
       financings, and their inclusion on Schedule G is not an admission that the agreement is an
       executory contract, financing agreement, or otherwise.

   •   To the extent that a Debtor is the lessee of an aircraft and also subleases the aircraft to
       another LATAM entity, both the lease and the sublease will be listed on the Debtor’s
       Schedule G, in its capacity as lessee and sublessor, respectively.

   •   Certain of the contracts, agreements, and leases listed on Schedule G may have been
       entered into by more than one of the Debtors. Further, in certain instances, the specific
       Debtor obligor to certain of the executory contracts could not be specifically ascertained.
       In such cases, the Debtors have made their best efforts to determine the correct Debtor’s
       Schedule G on which to list such executory contract.

Schedule H Notes.

   •   In the ordinary course of their businesses, the Debtors may be involved in pending or
       threatened litigation and claims. These matters may involve multiple plaintiffs and
       defendants, some or all of whom may assert cross-claims and counterclaims against other



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       parties. All such claims are “contingent,” “unliquidated,” and “disputed,” and not all
       claims may have been set forth individually on Schedule H.


                                  Statement of Financial Affairs

Statement Question 1 and 2 – Revenue. Intercompany eliminations are not included.

Statement Question 3 – 90 Day Payments. Due to the complex nature of LATAM’s global
operations, the listed 90-day payments likely do not constitute an exhaustive list. The Statements
may not include payments that were made by non-Debtor LATAM affiliates where part, or all, of
the payment benefitted one or more of the Debtors. Likewise, some disbursements made by one
or more of the Debtors within the 90-day period may have benefitted non-Debtors LATAM
affiliates. Payments by Debtors to vendors through intermediaries may not reflect the ultimate
beneficiary of these payments; however, the Debtors have worked to reclassify these payments
where possible.

Statement Question 4 – Payments to Insiders. The response of LATAM Parent to Statement
Question 4 contains the full list of payments made to insiders on behalf of all Debtors in the
aggregate during the one year preceding LATAM Parent’s Petition Date. Because the response
of LATAM Parent lists the aggregate payments to each insider, which are inclusive of those
insider payments made on account of all other Debtors, the Statements of the remaining Debtors
do not include any separate responses to Statement Question 4. Due to privacy and security
concerns associated with the public disclosure of the names and income of the Debtors’ officers
and employees in their home countries, the Debtors have redacted the names of the transferees
listed in response to Statement Question 4, and have instead identified the transferees by
“Individual 1,” Individual 2,” etc. Additionally, because certain senior officers would
otherwise be easily identifiable based on their respective incomes, in the interest of their privacy
and security, the Debtors have also redacted the amounts of the payments for these officers.
Refer to Global Note “Insiders” for further information.

Statement Question 6 – Setoffs. The Debtors are routinely subject to setoffs from third parties
in the ordinary course of business. Setoffs in the ordinary course result from routine
transactions, including but not limited to, intercompany transactions, counterparty settlements (in
particular, interline ticketing setoffs with other carriers, e.g. IATA or other interline settlements),
pricing discrepancies, setoffs with credit card processing companies, and other disputes between
Debtors and third parties. These normal setoffs are consistent with the ordinary course of
business in the Debtors’ industry and are not listed in the Debtors’ responses to Statement
Question 6. Furthermore, the Debtors engage in certain customer programs, including credits
and refunds. Such transactions were also not included in responding to Statement Question 6,
although the Debtors reserve all rights with respect thereto and make no admission of waiver
thereby. The Debtors reserve all rights to enforce or challenge any setoffs that have been or may
be asserted.

Statement Question 7 – Legal Actions. The Debtors have made reasonable best efforts to
identify all current pending litigation involving the Debtors; however, certain omissions may
have occurred. In the interest of efficiency, certain legal actions with relatively small amounts in


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dispute have been listed on the Schedule of LATAM Parent, regardless of which Debtor is the
named defendant in such legal action.

Statement Question 9 – Certain Gifts and Charitable Contributions. In response to
Statement Question 9, the Debtors did not include non-cash gifts such as frequent flier program
mile donations and ticket upgrades, which were deemed to have no value to the Debtors.

Statement Question 10 - Certain Losses. The Debtors did not include losses covered by
insurance in their responses to Statement Question 10.

Statement Question 12 – Self-Settled Trusts. The Debtors have established certain domestic
aircraft trusts for the purposes of holding title to aircraft eligible for FAA registration in the
United States. To the extent that a Debtor is the settlor and beneficiary of such an aircraft trust
that holds title to an aircraft, the Debtor’s beneficial ownership interest in the trust will be listed
as personal property on its Schedule A/B, the trust agreement with the aircraft trustee will be
listed on Schedule G, and the Debtor’s corresponding obligations to the aircraft trustee will be
listed as a contingent, unsecured unliquidated claim on its Schedule F. To the extent that a
Debtor holds an ownership interest in a subsidiary LATAM entity that in turn is the settlor and
beneficiary of such an aircraft trust, only the Debtor’s ownership interest in the subsidiary will be
listed as personal property on the Debtor’s Schedule A/B.

Statement Question 14 – Previous Addresses. Due to the consolidated nature of LATAM’s
operations, the same address may be listed on the schedules of multiple Debtors. In certain
instances, the Debtors have listed airport addresses generally, without identifying any specific
offices, terminals, warehouses, hangars, or other structures in which the Debtors physically
operated. This is customary practice and received mail is sorted accordingly for delivery at
airports. The Debtors also excluded from their responses any airport locations at which they did
not have routine operations during the specified time period.

Statement Question 16 – Personally Identifiable Information. The LATAM company
privacy policies are disclosed on its public website, in multiple languages, and are presented to
customers upon booking tickets or signing up for frequent flyer programs.

Statement Question 17 – ERISA Plan as an Employee Benefit. Certain Debtors sponsor
ERISA plans for their U.S. employees only. These 401(k) plans are included in the exhibit for
Statement Question 32. The Debtors do not sponsor a pension fund.

Statement Question 20 – Off-Premises Storage. In response to Statement Question 20, the
Debtors listed off-premises storage of inventory of such as archived documents and boarding
materials, including blankets and pillows. The appropriate employees are provided with access
to these facilities as per the Company’s policies. Due to the consolidated nature of the Debtors’
books and records, each Initial Debtor’s response to Statement Question 20 contains the
aggregate list of all property stored off premises for all Initial Debtors; likewise each
Subsequent Debtor’s response contains the aggregate list of property for all Subsequent Debtors.
Aircraft parked at off-premises facilities are excluded.



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Statement Question 21 – Property Held for Another. In response to Statement Question 21,
the Debtors did not include property owned by third parties held by a Debtor during repair or
otherwise in the ordinary course of business where possession is temporary and for the purpose
of addressing operational needs. All property listed in response to Statement Question 21 for all
Initial Debtors was aggregated under LATAM Parent; likewise, all property listed in response to
Statement Question 21 for all Subsequent Debtors was aggregated under TAM Linhas Aéreas
S.A.

Statement Question 25 – Businesses in Which the Debtors Have an Interest. Given the
complexities of the organizational structure of the Debtors, for purposes of Statement Question
25, the Debtors have listed only the direct subsidiaries of each Debtor entity.

Statement Question 26b - Firms or Individuals Who Have Audited, Compiled, Or
Reviewed Debtor’s Books. Other third parties may have audited, compiled, or reviewed the
Debtor’s books but are not included in the Debtors’ responses to Statement Question 26b.

Statement Question 26c – Firms or Individuals in Possession of Debtor’s Books of Account
and Records. Other third parties besides those listed may possess a subset of the Debtor’s
books and records but are not included in the Debtors’ responses to Statement Question 26c.

Statement Question 26d – Recipients of Financial Statements. LATAM Parent is a publicly
traded company with publicly available financial statements. Any number of parties may have
received LATAM Parent’s financial statements for the purposes of Statement Question 26d. For
this reason, LATAM Parent and each of the Debtors, which are all direct or indirect subsidiaries
of LATAM Parent, did not provide a response to Statement Question 26d.

Statement Question 27 – Inventories. The Debtors’ responses to Statement Question 27 do not
include routine informal inventories, during which Debtors perform cycle counts on parts and
other operational inspections, or the Debtors’ ordinary course maintenance of inventory records
as part of their overall financial and accounting systems.

Statement Question 28 and 29 – Current and Former Officer and Directors. While the
Debtors have made reasonable best efforts to list all current officers and directors for each
Debtor in response to Statement Questions 28 and 29, some may have been omitted. The
exercise of obtaining contact information for all prior officers and directors of all Debtors,
especially for the smaller subsidiary Debtors, would incur a significant burden on the Debtors’
management without providing much corresponding benefit in terms of useful information to
creditors and parties in interest. See Global Note “Insiders” for further information.

Statement Question 30 – Payments, Distributions, or Withdrawals to Insiders. Refer to
Statement Question 4 for this item.

Statement Question 32 – Contributions to Pension Funds. While the Debtors in total
contribute to approximately 59 different pension funds and similar government programs as
required by local labor laws, they do not sponsor any pension funds.




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 Fill in this information to identify the case:

 Debtor name         LATAM Airlines Ecuador S.A.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-11257
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                   Gross revenue
       which may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                    $43,946,265.35
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                   $233,677,480.78
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $240,403,347.02
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue    Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2020 to Filing Date                                                           Interest Income                                 $167,929.78


       For prior year:
       From 1/01/2019 to 12/31/2019                                                            Interest Income                                 $154,934.70


       For year before that:
       From 1/01/2018 to 12/31/2018                                                            Interest Income                                 $334,815.40




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
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 Debtor       LATAM Airlines Ecuador S.A.                                                               Case number (if known) 20-11257



                                                                                               Description of sources of revenue               Gross revenue from
                                                                                                                                               each source
                                                                                                                                               (before deductions and
                                                                                                                                               exclusions)
       For year before that:                                                                   Gain (Loss) on sale of
       From 1/01/2018 to 12/31/2018                                                            subsidiaries                                             $-664,901.90


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attached SOFA Part 2, Question 3                                                    $16,512,250.13                 Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Please refer to Global Note on
               Statement
               Question 4

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

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 Debtor       LATAM Airlines Ecuador S.A.                                                                   Case number (if known) 20-11257




           None.

               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.1.    See Attached SOFA Part 3,                                                                                                  Pending
               Question 7                                                                                                                 On appeal
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                               Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss               Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers                 Total amount or
                                                                                                                        were made                                value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include

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    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     See Attached SOFA Part 7, Question 14

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                   Passenger & Ticketing Information and Frequent Flier Program
                   Does the debtor have a privacy policy about that information?
                     No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Banco Bolivariano                                XXXX-2539                   Checking                 1/1/2020                             $0.00
                Junin 200                                                                    Savings
                Guayaquil, Guaya, 090306,
                                                                                             Money Market
                Ecuador
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       See Attached SOFA Part 10, Q20                                -                                                                            No
                                                                                                                                                  Yes



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

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22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       JULIANNA COBO (CFO AND CONTROLLER)                                                                                         JULY 2018 - Present
                    CONECTOR ALPACHACA S/N EDIFICIO,
                    QUITO AIRPORT CENTER
                    QUITO, ECUADOR

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       See Attached SOFA Part 13, Question 26b



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       PricewaterhouseCoopers Consultores
                    Auditores SpA
                    Av. Andrés Bello 2711, 5th floor
                    Las Condes, Santiago, Chile
       26c.2.       LATAM Airlines Group S.A
                    Estado 10, Piso 11
                    Santiago, Chile

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       LATAM Airlines Group S.A. and its
                    subsidiaries are a public company that
                    have distributed financials to numerous
                    parties in the ordinary course.

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       See Attached SOFA Part 13,
       Question 28



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
            No

           Yes. Identify below.




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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Please refer to Global Note on
       .    Statement
               Question 30

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    LATAM AIRLINES ECUADOR S.A.                                                                                EIN:        59.118.050-9

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    INSTITUTO DE SEGURIDAD SOCIAL (IESS)                                                                       EIN:        N/A

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 8, 2020

 /s/ Ramiro Alfonsín Balza                                              Ramiro Alfonsín Balza
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Financial Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                                                                                                                                                           Dates of   Total Amount or    Reasons for payment
        Creditor Name                  Address1                Address2                  Address3                  City         State       Zip         Country           Payments          value            or transfer
ACCENTURE CHILE ASESORIAS Y
SERVICI                        ROSARIO NORTE 530                                                           LAS CONDES                                CHILE                4/6/2020    $      95,011.76    TRADE PAYABLES
                               AVENIDA ISIDORA
ACCIONA AIRPORTS AMERICAS SPA GOYENECHEA 2800                                                              LAS CONDES                                CHILE                3/5/2020    $       7,176.63    TRADE PAYABLES
                               AVENIDA ISIDORA
ACCIONA AIRPORTS AMERICAS SPA GOYENECHEA 2800                                                              LAS CONDES                                CHILE            4/23/2020       $      32,322.57    TRADE PAYABLES
ADMINIST. FEDERAL DE INGRESOS
PUBLI                          P.O.BOX 70790                                                               CHICAGO         IL           60673-0790                    2/26/2020       $          15.10    TRADE PAYABLES
ADMINIST. FEDERAL DE INGRESOS
PUBLI                          P.O.BOX 70790                                                               CHICAGO         IL           60673-0790                        3/4/2020    $          12.90    TRADE PAYABLES
ADMINIST. FEDERAL DE INGRESOS
PUBLI                          P.O.BOX 70790                                                               CHICAGO         IL           60673-0790                    3/11/2020       $           1.51    TRADE PAYABLES
ADVANTAGE CLEANING SERVICIOS AV. DE LOS SHYRIS N32-
INTEGR                         111 Y AV. ELO                                                               QUITO                                     ECUADOR              3/3/2020    $      13,151.83    TRADE PAYABLES
ADVANTAGE CLEANING SERVICIOS AV. DE LOS SHYRIS N32-
INTEGR                         111 Y AV. ELO                                                               QUITO                                     ECUADOR          4/30/2020       $       6,653.21    TRADE PAYABLES
AEROPUERTOS ARGENTINA 2000 HONDURAS 5663 BUENOS
S.A.                           AIRES                                                                       BUENOS AIRES                 C1414BNE     ARGENTINA        5/22/2020       $       6,610.09    TRADE PAYABLES
                               WHYMPER N30-111 Y AV.
AEROTRAVESIA AGENCIA DE VIAJES LA CORUNA. ED                                                               QUITO                                     ECUADOR          5/22/2020       $       7,685.02    TRADE PAYABLES
AIR BP COPEC S.A.              AGUSTINAS 1382                                                              SANTIAGO                                  CHILE            2/27/2020       $      81,653.63    TRADE PAYABLES
AIR BP COPEC S.A.              AGUSTINAS 1382                                                              SANTIAGO                                  CHILE            3/11/2020       $      60,806.61    TRADE PAYABLES
                               AV. RICARDO RIVERA
AIR BP PBF DEL PERU S.A.C.     NAVARRETE NRO. 5                                                            SAN ISIDRO                                PERU             2/27/2020       $       6,305.15    TRADE PAYABLES
                               AV. RICARDO RIVERA
AIR BP PBF DEL PERU S.A.C.     NAVARRETE NRO. 5                                                            SAN ISIDRO                                PERU                 3/3/2020    $      47,459.87    TRADE PAYABLES
                               AV. RICARDO RIVERA
AIR BP PBF DEL PERU S.A.C.     NAVARRETE NRO. 5                                                            SAN ISIDRO                                PERU                 3/9/2020    $      19,657.73    TRADE PAYABLES
                               AV. RICARDO RIVERA
AIR BP PBF DEL PERU S.A.C.     NAVARRETE NRO. 5                                                            SAN ISIDRO                                PERU             3/27/2020       $      38,016.58    TRADE PAYABLES
                               AV. RICARDO RIVERA
AIR BP PBF DEL PERU S.A.C.     NAVARRETE NRO. 5                                                            SAN ISIDRO                                PERU             4/14/2020       $       8,119.96    TRADE PAYABLES
                               AV. RICARDO RIVERA
AIR BP PBF DEL PERU S.A.C.     NAVARRETE NRO. 5                                                            SAN ISIDRO                                PERU             4/23/2020       $      25,885.11    TRADE PAYABLES
                               AV. RICARDO RIVERA
AIR BP PBF DEL PERU S.A.C.     NAVARRETE NRO. 5                                                            SAN ISIDRO                                PERU             4/29/2020       $      12,004.43    TRADE PAYABLES
                               AV. RICARDO RIVERA
AIR BP PBF DEL PERU S.A.C.     NAVARRETE NRO. 5                                                            SAN ISIDRO                                PERU             5/22/2020       $      13,107.34    TRADE PAYABLES

AIRLINE REPORTING CORPORATION                                                                                                                                             4/6/2020    $     131,506.91    TRADE PAYABLES

AIRLINE REPORTING CORPORATION                                                                                                                                         4/13/2020       $      26,890.28    TRADE PAYABLES
ARIETE SEGURIDAD S.A.           CALLE INDUSTRIAS 51.                                                       ALCORCON                                  SPAIN             3/6/2020       $         981.08    TRADE PAYABLES
ASOCIACION ALAS DEL ECUADOR     CDLA ALBORADA 11AVA
DE LA                           SOLAR 13                                                                   GUAYAQUIL                                 ECUADOR              3/5/2020    $      12,746.89    TRADE PAYABLES
ASOCIACION ALAS DEL ECUADOR     CDLA ALBORADA 11AVA
DE LA                           SOLAR 13                                                                   GUAYAQUIL                                 ECUADOR          4/15/2020       $       2,645.36    TRADE PAYABLES
ASOCIACION ALAS DEL ECUADOR     CDLA ALBORADA 11AVA
DE LA                           SOLAR 13                                                                   GUAYAQUIL                                 ECUADOR          5/14/2020       $       1,062.07    TRADE PAYABLES




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                                                                                                                                                                              Dates of   Total Amount or    Reasons for payment
         Creditor Name                     Address1                   Address2              Address3                  City      State         Zip         Country            Payments          value            or transfer
ASOCIACION DE PILOTOS LAN         JOAQUIN JOSE ORRANTIA
ECUADOR                           S/N Y LEOPOL                                                                GUAYAQUIL                               ECUADOR                3/5/2020    $       6,813.30    TRADE PAYABLES
ASOCIACION DE PILOTOS LAN         JOAQUIN JOSE ORRANTIA
ECUADOR                           S/N Y LEOPOL                                                                GUAYAQUIL                               ECUADOR            4/15/2020       $       6,842.39    TRADE PAYABLES
ASOCIACION DE PILOTOS LAN         JOAQUIN JOSE ORRANTIA
ECUADOR                           S/N Y LEOPOL                                                                GUAYAQUIL                               ECUADOR            5/14/2020       $       3,279.82    TRADE PAYABLES
                                  AV. JUAN TANCA
ASOCIACION DE TRABAJADORES DE     MARENGO SOLAR 28.                                                           GUAYAQUIL                               ECUADOR                3/5/2020    $      10,460.01    TRADE PAYABLES
                                  AV. JUAN TANCA
ASOCIACION DE TRABAJADORES DE     MARENGO SOLAR 28.                                                           GUAYAQUIL                               ECUADOR            4/15/2020       $       9,323.27    TRADE PAYABLES
                                  AV. JUAN TANCA
ASOCIACION DE TRABAJADORES DE     MARENGO SOLAR 28.                                                           GUAYAQUIL                               ECUADOR            5/14/2020       $       3,330.21    TRADE PAYABLES
                                  AV DE LAS AMERICAS S/N
AUTOPARKING S.A.                  Y AV ISIDRO                                                                 GUAYAQUIL                               ECUADOR                3/5/2020    $       2,275.84    TRADE PAYABLES
                                  AV DE LAS AMERICAS S/N
AUTOPARKING S.A.                  Y AV ISIDRO                                                                 GUAYAQUIL                               ECUADOR            4/21/2020       $       2,275.84    TRADE PAYABLES
                                  AV DE LAS AMERICAS S/N
AUTOPARKING S.A.                  Y AV ISIDRO                                                                 GUAYAQUIL                               ECUADOR            5/13/2020       $       2,275.84    TRADE PAYABLES
AVIATION INDUSTRY                 1313 PONCE DE LEON
CONSULTANTS LLC                   BLVD                      STE 201                                           CORAL GABLES FL            33134                           2/28/2020       $      22,968.65    TRADE PAYABLES
AVIATION INDUSTRY                 1313 PONCE DE LEON
CONSULTANTS LLC                   BLVD                      STE 201                                           CORAL GABLES FL            33134                               4/2/2020    $      18,277.79    TRADE PAYABLES
AVIATION INDUSTRY                 1313 PONCE DE LEON
CONSULTANTS LLC                   BLVD                      STE 201                                           CORAL GABLES FL            33134                           5/15/2020       $       8,640.57    TRADE PAYABLES
                                  AV. ELOY ALFARO N29-
BIGBRANCH S.A.                    235 Y ITALIA                                                                QUITO                                   ECUADOR            2/26/2020       $       1,737.44    TRADE PAYABLES
                                  AV. ELOY ALFARO N29-
BIGBRANCH S.A.                    235 Y ITALIA                                                                QUITO                                   ECUADOR            3/10/2020       $       6,934.20    TRADE PAYABLES
                                  AV. DE LOS SHYRIS S/N Y
BMI IGUALAS MEDICAS DEL           SUECIA.                                                                     QUITO                                   ECUADOR            2/26/2020       $      50,021.26    TRADE PAYABLES
                                  AV. DE LOS SHYRIS S/N Y
BMI IGUALAS MEDICAS DEL           SUECIA.                                                                     QUITO                                   ECUADOR                3/5/2020    $       2,354.56    TRADE PAYABLES
                                  AV. DE LOS SHYRIS S/N Y
BMI IGUALAS MEDICAS DEL           SUECIA.                                                                     QUITO                                   ECUADOR            3/27/2020       $      90,881.97    TRADE PAYABLES
                                  AV. DE LOS SHYRIS S/N Y
BMI IGUALAS MEDICAS DEL           SUECIA.                                                                     QUITO                                   ECUADOR            4/16/2020       $       2,910.30    TRADE PAYABLES
                                  AV. DE LOS SHYRIS S/N Y
BMI IGUALAS MEDICAS DEL           SUECIA.                                                                     QUITO                                   ECUADOR            4/30/2020       $       4,533.18    TRADE PAYABLES
                                  LUQUE 1902 Y LOS RIOS -
BONDING S.A. BONDINGSA.           TULCAN                                                                      GUAYAQUIL                               ECUADOR                5/8/2020    $       7,112.00    TRADE PAYABLES
                                  AV. JORGE BASADRE NRO.
CAE AVIATION TRAINING PERU S.A.   592 INT. 703                                                                SAN ISIDRO                              PERU                   3/5/2020    $       1,888.94    TRADE PAYABLES
CAE ENTRENAMIENTO DE VUELO        CAMINO RENCA LAMPA.
CHILE LT                          9978                                                                        PUDAHUEL                                CHILE                  3/3/2020    $      15,033.75    TRADE PAYABLES
                                  ULTIMAS NOTICIAS Y EL
CITYFAST S.A.                     COMERC N37-78                                                               QUITO                                   ECUADOR            2/26/2020       $       7,269.93    TRADE PAYABLES
                                  ULTIMAS NOTICIAS Y EL
CITYFAST S.A.                     COMERC N37-78                                                               QUITO                                   ECUADOR            4/14/2020       $       3,912.61    TRADE PAYABLES
COMPAÑIA DE NEGOCIOS Y            PARROQUIA TABABELA S-
PROPIEDADES                       N                         VIA YARUQUI                                       QUITO                                   ECUADOR                3/5/2020    $       8,657.53    TRADE PAYABLES



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        Creditor Name                Address1            Address2                   Address3                  City      State         Zip         Country            Payments          value            or transfer
COMPAÑIA DE NEGOCIOS Y      PARROQUIA TABABELA S-
PROPIEDADES                 N                     VIA YARUQUI                                         QUITO                                   ECUADOR            3/12/2020       $         161.04    TRADE PAYABLES
COMPAÑIA DE NEGOCIOS Y      PARROQUIA TABABELA S-
PROPIEDADES                 N                     VIA YARUQUI                                         QUITO                                   ECUADOR            3/31/2020       $       1,507.32    TRADE PAYABLES
COMPAÑIA DE NEGOCIOS Y      PARROQUIA TABABELA S-
PROPIEDADES                 N                     VIA YARUQUI                                         QUITO                                   ECUADOR                4/7/2020    $       8,393.96    TRADE PAYABLES
COMPAÑIA DE TRANSPORTE      CDLA GARZOTA DOS MZ
ESCOLAR                     145 SL 5                                                                  GUAYAQUIL                               ECUADOR            2/26/2020       $      11,589.93    TRADE PAYABLES
COMPAÑIA DE TRANSPORTE      CDLA GARZOTA DOS MZ
ESCOLAR                     145 SL 5                                                                  GUAYAQUIL                               ECUADOR            5/13/2020       $       8,122.30    TRADE PAYABLES
CORPORACION AEROPORTUARIA   AV. ESPANA S/N Y ELIA
DE CUENCA                   LIUT                                                                      CUENCA                                  ECUADOR            2/28/2020       $           8.26    TRADE PAYABLES
CORPORACION AEROPORTUARIA   AV. ESPANA S/N Y ELIA
DE CUENCA                   LIUT                                                                      CUENCA                                  ECUADOR                3/5/2020    $      73,625.82    TRADE PAYABLES
CORPORACION AEROPORTUARIA   AV. ESPANA S/N Y ELIA
DE CUENCA                   LIUT                                                                      CUENCA                                  ECUADOR            4/21/2020       $      42,390.22    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU               2/25/2020       $       3,120.72    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU               2/27/2020       $      20,460.24    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU               2/28/2020       $       5,867.27    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU                   3/3/2020    $       2,235.92    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU                   3/5/2020    $       3,120.72    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU                   3/9/2020    $       1,870.68    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU               3/10/2020       $       2,080.48    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU               3/11/2020       $       5,921.56    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU               3/12/2020       $      10,349.97    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU               4/20/2020       $       2,659.41    TRADE PAYABLES
                            AEROPUERTO
CORPORACION PERUANA DE      INTERNACIONAL JORGE
AEROPUERTOS.                S/N                                                                       LIMA                                    PERU               4/22/2020       $      11,293.28    TRADE PAYABLES




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                                AEROPUERTO
CORPORACION PERUANA DE          INTERNACIONAL JORGE
AEROPUERTOS.                    S/N                                                                        LIMA                                     PERU              5/22/2020       $       2,810.99    TRADE PAYABLES
                                24624 INTERSTATE 45
CPAT, INC.                      NORTH                  SUITE 270                                           SPRING          TX           77386                         2/25/2020       $         635.00    TRADE PAYABLES
                                24624 INTERSTATE 45
CPAT, INC.                      NORTH                  SUITE 270                                           SPRING          TX           77386                         5/12/2020       $         635.00    TRADE PAYABLES
CPD DEVOLUCIONES
AUTOMATICAS PASAJE              N/A                                                                        N/A             N/A          N/A         N/A               2/26/2020       $      14,872.48 PASSENGER PAYMENT
CPD DEVOLUCIONES
AUTOMATICAS PASAJE              N/A                                                                        N/A             N/A          N/A         N/A               2/28/2020       $       1,761.71 PASSENGER PAYMENT
CPD DEVOLUCIONES
AUTOMATICAS PASAJE              N/A                                                                        N/A             N/A          N/A         N/A                   3/3/2020    $      17,134.30 PASSENGER PAYMENT
CPD DEVOLUCIONES
AUTOMATICAS PASAJE              N/A                                                                        N/A             N/A          N/A         N/A                   3/5/2020    $       8,272.25 PASSENGER PAYMENT
CPD DEVOLUCIONES
AUTOMATICAS PASAJE              N/A                                                                        N/A             N/A          N/A         N/A               3/10/2020       $      23,569.77 PASSENGER PAYMENT
CPD DEVOLUCIONES
AUTOMATICAS PASAJE              N/A                                                                        N/A             N/A          N/A         N/A               3/12/2020       $      16,571.51 PASSENGER PAYMENT

CPD TRAVEL VOUCHER CL           N/A                                                                        N/A             N/A          N/A         N/A               2/26/2020       $       1,757.00 PASSENGER PAYMENT

CPD TRAVEL VOUCHER CL           N/A                                                                        N/A             N/A          N/A         N/A               2/27/2020       $          60.00 PASSENGER PAYMENT

CPD TRAVEL VOUCHER CL           N/A                                                                        N/A             N/A          N/A         N/A               2/28/2020       $         707.00 PASSENGER PAYMENT

CPD TRAVEL VOUCHER CL           N/A                                                                        N/A             N/A          N/A         N/A                   3/3/2020    $       2,515.66 PASSENGER PAYMENT

CPD TRAVEL VOUCHER CL           N/A                                                                        N/A             N/A          N/A         N/A                   3/5/2020    $         116.00 PASSENGER PAYMENT

CPD TRAVEL VOUCHER CL           N/A                                                                        N/A             N/A          N/A         N/A                   3/9/2020    $         555.00 PASSENGER PAYMENT

CPD TRAVEL VOUCHER CL           N/A                                                                        N/A             N/A          N/A         N/A               3/10/2020       $       4,407.98 PASSENGER PAYMENT

CPD TRAVEL VOUCHER CL           N/A                                                                        N/A             N/A          N/A         N/A               3/12/2020       $       1,149.83 PASSENGER PAYMENT

CPD TRAVEL VOUCHER CL           N/A                                                                        N/A             N/A          N/A         N/A               5/12/2020       $       2,923.00 PASSENGER PAYMENT

CPD TRAVEL VOUCHER EU           N/A                                                                        N/A             N/A          N/A         N/A               2/28/2020       $       1,677.95 PASSENGER PAYMENT
DIREC. NAC.DE MIGRACIONES       AGUSTINAS 1382                                                             SANTIAGO                                 COLOMBIA           4/7/2020       $         972.89   TRADE PAYABLES
DIREC. NAC.DE MIGRACIONES       AGUSTINAS 1382                                                             SANTIAGO                                 COLOMBIA          4/20/2020       $         949.59   TRADE PAYABLES
DIREC. NAC.DE MIGRACIONES       AGUSTINAS 1382                                                             SANTIAGO                                 COLOMBIA          5/18/2020       $         912.61   TRADE PAYABLES
DIRECCION GENERAL DE            AERODROMO
AERONAUTICA CI                  BALMACEDA S/N                                                              COYHAIQUE                                CHILE             2/27/2020       $      26,521.80    TRADE PAYABLES
DIRECCION GENERAL DE            AERODROMO
AERONAUTICA CI                  BALMACEDA S/N                                                              COYHAIQUE                                CHILE             3/11/2020       $         383.87    TRADE PAYABLES
DIRECCION GENERAL DE            AERODROMO
AERONAUTICA CI                  BALMACEDA S/N                                                              COYHAIQUE                                CHILE             3/12/2020       $       4,076.45    TRADE PAYABLES
DIRECCION GENERAL DE AVIACION
CIVIL                           BUENOS AIRES OE1-53                                                        QUITO                                    ECUADOR           2/26/2020       $          53.98    TRADE PAYABLES



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DIRECCION GENERAL DE AVIACION
CIVIL                           BUENOS AIRES OE1-53                                                         QUITO                                   ECUADOR                3/5/2020    $      59,592.50    TRADE PAYABLES
DIRECCION GENERAL DE AVIACION
CIVIL                           BUENOS AIRES OE1-53                                                         QUITO                                   ECUADOR            3/10/2020       $     109,460.00    TRADE PAYABLES
DIRECCION GENERAL DE AVIACION
CIVIL                           BUENOS AIRES OE1-53                                                         QUITO                                   ECUADOR            4/21/2020       $       3,057.62    TRADE PAYABLES
DIRECCION GENERAL DE AVIACION
CIVIL                           BUENOS AIRES OE1-53                                                         QUITO                                   ECUADOR            4/23/2020       $      94,660.81    TRADE PAYABLES
DIRECCION GENERAL DE AVIACION
CIVIL                           BUENOS AIRES OE1-53                                                         QUITO                                   ECUADOR                5/7/2020    $       1,372.93    TRADE PAYABLES
DIRECCION GENERAL DE AVIACION
CIVIL                           BUENOS AIRES OE1-53                                                         QUITO                                   ECUADOR            5/22/2020       $       4,051.87    TRADE PAYABLES
EMPRESA PUBLICA                 AV. AMAZONAS S/N Y RIO
METROPOLITANA DE                ARAUJANO                                                                    QUITO                                   ECUADOR                3/5/2020    $     152,748.00    TRADE PAYABLES
EMPRESA PUBLICA                 AV. AMAZONAS S/N Y RIO
METROPOLITANA DE                ARAUJANO                                                                    QUITO                                   ECUADOR            4/23/2020       $       1,130.41    TRADE PAYABLES
EMPRESA PUBLICA                 AV. AMAZONAS S/N Y RIO
METROPOLITANA DE                ARAUJANO                                                                    QUITO                                   ECUADOR                5/1/2020    $     153,162.69    TRADE PAYABLES
EMPRESA PUBLICA                 AV. AMAZONAS S/N Y RIO
METROPOLITANA DE                ARAUJANO                                                                    QUITO                                   ECUADOR                5/6/2020    $      64,662.00    TRADE PAYABLES
EMPRESA PUBLICA                 AV. AMAZONAS S/N Y RIO
METROPOLITANA DE                ARAUJANO                                                                    QUITO                                   ECUADOR            5/22/2020       $       1,293.56    TRADE PAYABLES
                                ALPALLANA E8-86 Y AV 6
EP PETROECUADOR                 DE DICIEMBR                                                                 QUITO                                   ECUADOR            2/26/2020       $     564,356.26    TRADE PAYABLES
                                ALPALLANA E8-86 Y AV 6
EP PETROECUADOR                 DE DICIEMBR                                                                 QUITO                                   ECUADOR            2/28/2020       $     651,080.89    TRADE PAYABLES
                                ALPALLANA E8-86 Y AV 6
EP PETROECUADOR                 DE DICIEMBR                                                                 QUITO                                   ECUADOR                3/5/2020    $     463,249.43    TRADE PAYABLES
                                ALPALLANA E8-86 Y AV 6
EP PETROECUADOR                 DE DICIEMBR                                                                 QUITO                                   ECUADOR            3/12/2020       $     195,349.08    TRADE PAYABLES
ESCAPAR SAS                     CALLE 6 43 C 08 OF 103.                                                     MEDELLIN                                COLOMBIA           3/10/2020       $         292.96    TRADE PAYABLES
                                TRANSVERSAL 78 65-233.
EVERFIT S.A.                    68-23                                                                       MEDELLIN                                COLOMBIA           2/28/2020       $      11,246.40    TRADE PAYABLES
                                3150 139TH AVENUE SE
EXPEDIA INC                     STE 100                                                                     BELLEVUE        WA         98004                           2/28/2020       $       3,324.66    TRADE PAYABLES

FACEBOOK IRELAND LIMITED        4 GRAND CANAL SQUARE                                                        DUBLIN                                  IRELAND                4/7/2020    $      88,181.97    TRADE PAYABLES
FIDEICOMISO MERCANTIL           AV. CARLOS JULIO
ECOGAL..                        AROSEMENA S/N.                                                              GUAYAQUIL                               ECUADOR                3/5/2020    $       3,310.85    TRADE PAYABLES
FIDEICOMISO MERCANTIL           AV. CARLOS JULIO
ECOGAL..                        AROSEMENA S/N.                                                              GUAYAQUIL                               ECUADOR            3/12/2020       $     149,302.50    TRADE PAYABLES
FIDEICOMISO MERCANTIL           AV. CARLOS JULIO
ECOGAL..                        AROSEMENA S/N.                                                              GUAYAQUIL                               ECUADOR                4/2/2020    $      73,916.48    TRADE PAYABLES
FIDEICOMISO MERCANTIL           AV. CARLOS JULIO
ECOGAL..                        AROSEMENA S/N.                                                              GUAYAQUIL                               ECUADOR                4/6/2020    $     123,592.09    TRADE PAYABLES
FIDEICOMISO MERCANTIL           AV. CARLOS JULIO
ECOGAL..                        AROSEMENA S/N.                                                              GUAYAQUIL                               ECUADOR            4/28/2020       $      15,383.40    TRADE PAYABLES
FIDEICOMISO MERCANTIL           AV. CARLOS JULIO
ECOGAL..                        AROSEMENA S/N.                                                              GUAYAQUIL                               ECUADOR            5/18/2020       $       1,612.65    TRADE PAYABLES




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                                                                                                                                                                             Dates of   Total Amount or    Reasons for payment
         Creditor Name               Address1                    Address2                  Address3                  City      State         Zip         Country            Payments          value            or transfer
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR            2/28/2020       $       2,032.81    TRADE PAYABLES
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR            2/28/2020       $     134,883.65    TRADE PAYABLES
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR            3/10/2020       $   1,108,145.29    TRADE PAYABLES
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR                4/2/2020    $     145,270.73    TRADE PAYABLES
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR                4/6/2020    $      46,248.78    TRADE PAYABLES
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR            4/15/2020       $         426.69    TRADE PAYABLES
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR            4/23/2020       $       8,073.80    TRADE PAYABLES
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR            4/28/2020       $     393,982.04    TRADE PAYABLES
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR            5/18/2020       $     355,111.38    TRADE PAYABLES
FIDEICOMISO MERCANTIL        AV. 12 DE OCTUBRE N24-
QUIPORT                      562 Y LUIS CO                                                                   QUITO                                   ECUADOR            5/22/2020       $      19,723.14    TRADE PAYABLES
                             PEDRO CARBO 555 Y
FIDEICOMISO MERCANTIL TAGSA LUQUE                                                                            GUAYAQUIL                               ECUADOR            2/28/2020       $     215,683.27    TRADE PAYABLES
                             PEDRO CARBO 555 Y
FIDEICOMISO MERCANTIL TAGSA LUQUE                                                                            GUAYAQUIL                               ECUADOR            3/10/2020       $     596,750.73    TRADE PAYABLES
                             PEDRO CARBO 555 Y
FIDEICOMISO MERCANTIL TAGSA LUQUE                                                                            GUAYAQUIL                               ECUADOR            3/12/2020       $      37,254.48    TRADE PAYABLES
                             PEDRO CARBO 555 Y
FIDEICOMISO MERCANTIL TAGSA LUQUE                                                                            GUAYAQUIL                               ECUADOR                4/2/2020    $     741,824.54    TRADE PAYABLES
                             PEDRO CARBO 555 Y
FIDEICOMISO MERCANTIL TAGSA LUQUE                                                                            GUAYAQUIL                               ECUADOR                4/6/2020    $         708.40    TRADE PAYABLES
                             PEDRO CARBO 555 Y
FIDEICOMISO MERCANTIL TAGSA LUQUE                                                                            GUAYAQUIL                               ECUADOR            4/28/2020       $      24,619.91    TRADE PAYABLES
                             AV CORUNA N28-14 Y
FIDEICOMISO TEF              MANUEL ITURREY                                                                  QUITO                                   ECUADOR            2/28/2020       $         610.63    TRADE PAYABLES
                             AV CORUNA N28-14 Y
FIDEICOMISO TEF              MANUEL ITURREY                                                                  QUITO                                   ECUADOR            3/10/2020       $       1,835.65    TRADE PAYABLES
                             AV CORUNA N28-14 Y
FIDEICOMISO TEF              MANUEL ITURREY                                                                  QUITO                                   ECUADOR                4/7/2020    $      26,514.22    TRADE PAYABLES
GATE GOURMET CATERING CHILE AV. GENERAL OSCAR
LIMITA                       BONILLA 9469                                                                    PUDAHUEL                                CHILE                  3/3/2020    $      12,141.94    TRADE PAYABLES
GATE GOURMET DEL ECUADOR CIA AV LUIS TUFINO OE-3-245
LTDA                         Y TYARCO                                                                        QUITO                                   ECUADOR                3/3/2020    $      18,643.84    TRADE PAYABLES
GATE GOURMET DEL ECUADOR CIA AV LUIS TUFINO OE-3-245
LTDA                         Y TYARCO                                                                        QUITO                                   ECUADOR             4/7/2020       $      24,348.39    TRADE PAYABLES
GATE GOURMET INC.            PO BOX 415000                                                                   NASHVILLE       TN         37241-5000                      2/28/2020       $      39,811.96    TRADE PAYABLES
GATE GOURMET INC.            PO BOX 415000                                                                   NASHVILLE       TN         37241-5000                       3/4/2020       $      40,351.83    TRADE PAYABLES

GATE GOURMET SPAIN S.L.       CTRA DE LA MUÐOZA S/N                                                          MADRID                                  SPAIN              3/13/2020       $      19,810.01    TRADE PAYABLES
GOBERNACION DE LA PROVINCIA
DE BUE                        CRA 7 B BIS 124 75.                                                            BOGOTA                                  COLOMBIA               3/6/2020    $         440.67    TRADE PAYABLES



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GOLDEN TOUCH TRANSPORTATION      14500 N NORTHSIGHT
OF NY I                          BLVD STE 329                                                                 SCOTTSDALE      AZ           85260-3664                        4/1/2020    $       2,230.24    TRADE PAYABLES
GOLDEN TOUCH TRANSPORTATION      14500 N NORTHSIGHT
OF NY I                          BLVD STE 329                                                                 SCOTTSDALE      AZ           85260-3664                    5/12/2020       $       8,746.61    TRADE PAYABLES
                                 1600 AMPHITHEATRE                                                            MOUNTAIN
GOOGLE INC                       PKWY                                                                         VIEW            CA           94043                         3/11/2020       $      17,616.89    TRADE PAYABLES
                                 1600 AMPHITHEATRE                                                            MOUNTAIN
GOOGLE INC                       PKWY                                                                         VIEW            CA           94043                             4/7/2020    $      20,258.40    TRADE PAYABLES

HOTELES SHERATON DEL PERU S.A.   PASEO REPUBLI 170                                                            LIMA                         15001        PERU              4/2/2020       $         503.93    TRADE PAYABLES
IATA CLEARING HOUSE              2000 PEEL STREET.                                                            MONTREAL        QC                        CANADA            4/8/2020       $      92,039.00     IATA PAYMENT
IATA CLEARING HOUSE              2000 PEEL STREET.                                                            MONTREAL        QC                        CANADA           4/23/2020       $      25,098.00     IATA PAYMENT
IATA CLEARING HOUSE              2000 PEEL STREET.                                                            MONTREAL        QC                        CANADA           4/29/2020       $      58,721.00     IATA PAYMENT
IATA CLEARING HOUSE              2000 PEEL STREET.                                                            MONTREAL        QC                        CANADA            5/7/2020       $      23,099.00     IATA PAYMENT
IBERIA LINEAS AEREAS DE ESPANA
SA                               BANDERA 206                                                                  SANTIAGO                                  CHILE            2/28/2020       $      16,203.00    TRADE PAYABLES
IBERIA LINEAS AEREAS DE ESPANA
SA                               BANDERA 206                                                                  SANTIAGO                                  CHILE            3/13/2020       $      12,858.24    TRADE PAYABLES
INMOBILIARIA SANTA FILOMENA                                                                                   POR
SPA                              POR CONFIRMAR S/N.                                                           CONFIRMAR                                 CHILE            3/18/2020       $      10,481.38    TRADE PAYABLES
INSTITUTO NACIONAL DE
AVIACION CIVI                    OF.DE RADIOAYUDA         DIVISION DE RECAU                                   CARACAS                                   VENEZUELA            3/5/2020    $     232,200.61    TRADE PAYABLES
INTEGRAL ADVISORS SERVICIOS      AV. REPUBLICA E2-401 Y
LEGALES                          RUMIPAMBA.                                                                   QUITO                                     ECUADOR          5/13/2020       $       9,586.98    TRADE PAYABLES

INTERNAL REVENUE SERVICE         2970 MARKET ST.          MAIL STOP 5-Q30-133                                 PHILADELPHIA PA              19104-5016                    2/28/2020       $     105,703.14    TRADE PAYABLES

INTERNAL REVENUE SERVICE         2970 MARKET ST.          MAIL STOP 5-Q30-133                                 PHILADELPHIA PA              19104-5016                    3/13/2020       $     105,703.14    TRADE PAYABLES

INTERNAL REVENUE SERVICE       2970 MARKET ST.           MAIL STOP 5-Q30-133                                  PHILADELPHIA PA              19104-5016                    3/27/2020       $      51,335.64    TRADE PAYABLES
INTERNATIONAL AIR TRANSPORT    800 PLACE VICTORIA
ASSOCIA                        P.O.BOX 113                                                                    MONTREAL        QC                        CANADA           4/13/2020       $      11,131.98    TRADE PAYABLES
INTERNATIONAL AIR TRANSPORT    800 PLACE VICTORIA
ASSOCIA                        P.O.BOX 113                                                                    MONTREAL        QC                        CANADA           4/15/2020       $      11,131.98    TRADE PAYABLES
INTERNATIONAL AIR TRANSPORT    800 PLACE VICTORIA
ASSOCIA                        P.O.BOX 113                                                                    MONTREAL        QC                        CANADA           4/23/2020       $       5,310.50    TRADE PAYABLES
                               AV CALLE 100 7A - 81 PISO
IPG MEDIABRANDS S.A.           5                                                                              BOGOTA                                    COLOMBIA             3/3/2020    $     126,768.04    TRADE PAYABLES
                               AV CALLE 100 7A - 81 PISO
IPG MEDIABRANDS S.A.           5                                                                              BOGOTA                                    COLOMBIA             4/2/2020    $       2,983.47    TRADE PAYABLES
                               AV CALLE 100 7A - 81 PISO
IPG MEDIABRANDS S.A.           5                                                                              BOGOTA                                    COLOMBIA             4/8/2020    $      11,320.41    TRADE PAYABLES
                               4 CENTRAL TERMINAL
JFK INTERNATIONAL AIR TERMINAL AREA RM 161022                                                                 JAMAICA         NY           11430                             3/4/2020    $      23,477.16    TRADE PAYABLES
                               4 CENTRAL TERMINAL
JFK INTERNATIONAL AIR TERMINAL AREA RM 161022                                                                 JAMAICA         NY           11430                         4/30/2020       $     141,334.76    TRADE PAYABLES
                               4 CENTRAL TERMINAL
JFK INTERNATIONAL AIR TERMINAL AREA RM 161022                                                                 JAMAICA         NY           11430                         5/15/2020       $     141,334.74    TRADE PAYABLES
JUAREZ TORREZ TRANSPORT PRIME
JTTP                           D-20 N82-192 Y E-8                                                             QUITO                                     ECUADOR              3/3/2020    $         456.34    TRADE PAYABLES



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                                                                                                                                                                         Dates of   Total Amount or    Reasons for payment
         Creditor Name                Address1            Address2                     Address3                  City         State       Zip         Country           Payments          value            or transfer
JUAREZ TORREZ TRANSPORT PRIME
JTTP                          D-20 N82-192 Y E-8                                                         QUITO                                     ECUADOR          3/10/2020       $      17,853.20    TRADE PAYABLES
JUAREZ TORREZ TRANSPORT PRIME
JTTP                          D-20 N82-192 Y E-8                                                         QUITO                                     ECUADOR              4/3/2020    $      32,193.08    TRADE PAYABLES
JUAREZ TORREZ TRANSPORT PRIME
JTTP                          D-20 N82-192 Y E-8                                                         QUITO                                     ECUADOR          5/13/2020       $      24,053.70    TRADE PAYABLES
                              CONECTOR ALPACHACA
                              S/N EDIFICIO, QUITO                                                                                                                                                         EMPLOYEE
KAREN JUSTINE CAZAR VEGA      AIRPORT CENTER                                                             QUITO                                     ECUADOR          3/24/2020       $       5,000.00   REIMBURSEMENTS
                              CONECTOR ALPACHACA
                              S/N EDIFICIO, QUITO                                                                                                                                                         EMPLOYEE
KAREN JUSTINE CAZAR VEGA      AIRPORT CENTER                                                             QUITO                                     ECUADOR          4/30/2020       $       5,000.00   REIMBURSEMENTS
                              CONECTOR ALPACHACA
                              S/N EDIFICIO, QUITO                                                                                                                                                         EMPLOYEE
KAREN JUSTINE CAZAR VEGA      AIRPORT CENTER                                                             QUITO                                     ECUADOR              5/7/2020    $       1,848.32   REIMBURSEMENTS
                              CONECTOR ALPACHACA
                              S/N EDIFICIO, QUITO                                                                                                                                                         EMPLOYEE
KAREN JUSTINE CAZAR VEGA      AIRPORT CENTER                                                             QUITO                                     ECUADOR          5/19/2020       $       2,986.95   REIMBURSEMENTS
                              AV. COSTANERA RAFAEL
                              OBLIGADO Y JERÓNIMO Predio de Costa Salguero
LAN ARGENTINA S.A.            SALGUERO SIN NÚMERO, Park                                                  C.A.B.A.                                  ARGENTINA        2/27/2020       $     170,778.67     INTERCOMPANY
                              AV.ELMER FAUCETT S/N -
LIMA AIRPORT PARTNERS S.R.L.. CALLAO                                                                     LIMA                         07031        PERU             2/27/2020       $      25,794.06    TRADE PAYABLES
                              AV.ELMER FAUCETT S/N -
LIMA AIRPORT PARTNERS S.R.L.. CALLAO                                                                     LIMA                         07031        PERU                 3/5/2020    $      73,286.79    TRADE PAYABLES
                              AV.ELMER FAUCETT S/N -
LIMA AIRPORT PARTNERS S.R.L.. CALLAO                                                                     LIMA                         07031        PERU             3/12/2020       $      19,353.44    TRADE PAYABLES
                              265 BROADHOLLOW RD
LODGING SOLUTIONS LLC         FL 3                                                                       MELVILLE        NY           11747-4833                    2/25/2020       $       8,847.04    TRADE PAYABLES
                              265 BROADHOLLOW RD
LODGING SOLUTIONS LLC         FL 3                                                                       MELVILLE        NY           11747-4833                        3/9/2020    $      10,261.41    TRADE PAYABLES
                              265 BROADHOLLOW RD
LODGING SOLUTIONS LLC         FL 3                                                                       MELVILLE        NY           11747-4833                    4/20/2020       $         285.97    TRADE PAYABLES
                              265 BROADHOLLOW RD
LODGING SOLUTIONS LLC         FL 3                                                                       MELVILLE        NY           11747-4833                        5/8/2020    $       1,238.47    TRADE PAYABLES
MANLIM MANTENIMIENTO Y        KM 2.5 AV. JUAN TANCA
LIMPIEZA S.A                  MARENGO SOLAR                                                              GUAYAQUIL                                 ECUADOR          4/21/2020       $      20,213.32    TRADE PAYABLES
MANLIM MANTENIMIENTO Y        KM 2.5 AV. JUAN TANCA
LIMPIEZA S.A                  MARENGO SOLAR                                                              GUAYAQUIL                                 ECUADOR          4/30/2020       $       4,330.99    TRADE PAYABLES
                              CONECTOR ALPACHACA
MARIA ALEJANDRA ECHEVERRIA    S/N EDIFICIO, QUITO                                                                                                                                                         EMPLOYEE
YEPEZ                         AIRPORT CENTER                                                             QUITO                                     ECUADOR          2/28/2020       $      10,000.00   REIMBURSEMENTS
                              CONECTOR ALPACHACA
MARIA ALEJANDRA ECHEVERRIA    S/N EDIFICIO, QUITO                                                                                                                                                         EMPLOYEE
YEPEZ                         AIRPORT CENTER                                                             QUITO                                     ECUADOR              4/3/2020    $         451.10   REIMBURSEMENTS
                              CONECTOR ALPACHACA
MARIA ALEJANDRA ECHEVERRIA    S/N EDIFICIO, QUITO                                                                                                                                                         EMPLOYEE
YEPEZ                         AIRPORT CENTER                                                             QUITO                                     ECUADOR              4/8/2020    $         110.00   REIMBURSEMENTS




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                                                                                                                                                                         Dates of   Total Amount or    Reasons for payment
        Creditor Name                 Address1                Address2                 Address3                  City         State       Zip         Country           Payments          value            or transfer
                              CONECTOR ALPACHACA
MARIA ALEJANDRA ECHEVERRIA    S/N EDIFICIO, QUITO                                                                                                                                                         EMPLOYEE
YEPEZ                         AIRPORT CENTER                                                             QUITO                                     ECUADOR          4/16/2020       $       2,500.00   REIMBURSEMENTS

MARINA HOTELES LIMITADA       ECUADOR 299                                                                VINA DEL MAR                              CHILE            2/27/2020       $         689.82    TRADE PAYABLES
MC CANN ERICKSON ECUADOR      CUMBAYA / AV PAMPITE Y
PUBLICIDAD                    SIMON VA S/N                                                               QUITO                                     ECUADOR              3/3/2020    $       8,340.48    TRADE PAYABLES
MC CANN ERICKSON ECUADOR      CUMBAYA / AV PAMPITE Y
PUBLICIDAD                    SIMON VA S/N                                                               QUITO                                     ECUADOR              4/2/2020    $      17,153.30    TRADE PAYABLES
MC CANN ERICKSON ECUADOR      CUMBAYA / AV PAMPITE Y
PUBLICIDAD                    SIMON VA S/N                                                               QUITO                                     ECUADOR              4/6/2020    $      25,427.89    TRADE PAYABLES
                              1250 W WASHINGTON ST
MEDAIRE, INC                  STE 44                                                                     CARSON CITY     NV           89703                             3/3/2020    $       2,819.48    TRADE PAYABLES
                              AV. ELOY ALFARO N32-
MINISTERIO DE TURISMO         300 Y PASAJE.                                                              QUITO                                     ECUADOR          2/28/2020       $      13,151.56    TRADE PAYABLES
                              AV. ELOY ALFARO N32-
MINISTERIO DE TURISMO         300 Y PASAJE.                                                              QUITO                                     ECUADOR          3/10/2020       $     288,100.00    TRADE PAYABLES
                              AV. ELOY ALFARO N32-
MINISTERIO DE TURISMO         300 Y PASAJE.                                                              QUITO                                     ECUADOR          3/13/2020       $      35,200.00    TRADE PAYABLES
                              AV. ELOY ALFARO N32-
MINISTERIO DE TURISMO         300 Y PASAJE.                                                              QUITO                                     ECUADOR              4/3/2020    $     280,783.42    TRADE PAYABLES
                              ENTRE RIOS AV. PRIMERA                                                     GUAYAQUIL -
NACIONAL DE TMO NACTUR S A    MZ. Z1 SOLAR                                                               EC                                        ECUADOR              5/5/2020    $       6,913.88    TRADE PAYABLES
NHI-2 LLC DBA TRAVELLIANCE    85 W ALGONQUIN RD STE                                                      ARLINGTON
CHICAGO.                      160                                                                        HEIGHTS         IL           60005-4458                    3/12/2020       $      16,790.77    TRADE PAYABLES
NHI-2 LLC DBA TRAVELLIANCE    85 W ALGONQUIN RD STE                                                      ARLINGTON
CHICAGO.                      160                                                                        HEIGHTS         IL           60005-4458                     4/1/2020       $      17,790.10    TRADE PAYABLES
NJ EASY RIDE INC              333 ELM ST APT 3C                                                          KEARNY          NJ           07032-3578                    3/25/2020       $      31,270.00    TRADE PAYABLES
NJ EASY RIDE INC              333 ELM ST APT 3C                                                          KEARNY          NJ           07032-3578                     4/1/2020       $         240.00    TRADE PAYABLES
OMNIDATA SERVICES GROUP LLC   11010 NEESHAW DR       BLDG B                                              HOUSTON         TX           77065-5274                     3/3/2020       $      10,438.98    TRADE PAYABLES

PRICE WATERHOUSE & CO         CERRITO 268                                                                BUENOS AIRES                              ARGENTINA        5/22/2020       $      10,105.16    TRADE PAYABLES
PRICEWATERHOUSECOOPERSDEL     INAQUITO / AV 6 DE
ECUADOR                       DICIEMBRE LOTE 3                                                           QUITO                                     ECUADOR              4/8/2020    $      37,962.03    TRADE PAYABLES
PRICEWATERHOUSECOOPERSDEL     INAQUITO / AV 6 DE
ECUADOR                       DICIEMBRE LOTE 3                                                           QUITO                                     ECUADOR          5/22/2020       $      15,120.30    TRADE PAYABLES
RAUL VASCONEZ LIBERIO         LA 35 AVA Y CHEMBERS.                                                      GUAYAQUIL                                 ECUADOR          3/27/2020       $       3,413.76    TRADE PAYABLES
RAUL VASCONEZ LIBERIO         LA 35 AVA Y CHEMBERS.                                                      GUAYAQUIL                                 ECUADOR          5/13/2020       $       4,164.37    TRADE PAYABLES
RENDON MACIAS FERNANDO                                                                                                                                              3/26/2020       $       9,979.24    TRADE PAYABLES

ROANOKE INSURANCE GROUP INC 1475 E WOODFIELD ROAD STE 500                                                SCHAUMBURG IL                60173                             3/4/2020    $       3,425.00    TRADE PAYABLES
                            CONECTOR ALPACHACA
ROCIO ALEXANDRA NICOLALDE   S/N EDIFICIO, QUITO                                                                                                                                                           EMPLOYEE
MONTALVO                    AIRPORT CENTER                                                               QUITO                                     ECUADOR          2/26/2020       $       1,512.12   REIMBURSEMENTS
                            CONECTOR ALPACHACA
ROCIO ALEXANDRA NICOLALDE   S/N EDIFICIO, QUITO                                                                                                                                                           EMPLOYEE
MONTALVO                    AIRPORT CENTER                                                               QUITO                                     ECUADOR          3/26/2020       $       3,550.71   REIMBURSEMENTS
                            CONECTOR ALPACHACA
ROCIO ALEXANDRA NICOLALDE   S/N EDIFICIO, QUITO                                                                                                                                                           EMPLOYEE
MONTALVO                    AIRPORT CENTER                                                               QUITO                                     ECUADOR          5/19/2020       $       4,323.02   REIMBURSEMENTS



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         Creditor Name                 Address1                Address2                  Address3                  City         State       Zip         Country           Payments          value            or transfer
                               AV.AMAZONAS N35-17 Y
RP&C ABOGADOS CIA. LTDA.       JUAN PABLO SAE                                                              QUITO                                     ECUADOR          2/26/2020       $      16,723.36    TRADE PAYABLES
                               AV.AMAZONAS N35-17 Y
RP&C ABOGADOS CIA. LTDA.       JUAN PABLO SAE                                                              QUITO                                     ECUADOR          5/22/2020       $      78,937.45    TRADE PAYABLES
                               AV MIGUEL H ALCIVAR
SEGURIDAD PRIVADA ACTIVE       S/N Y AV FRA                                                                GUAYAQUIL                                 ECUADOR          2/26/2020       $       6,070.83    TRADE PAYABLES
                               AV MIGUEL H ALCIVAR
SEGURIDAD PRIVADA ACTIVE       S/N Y AV FRA                                                                GUAYAQUIL                                 ECUADOR              3/3/2020    $       1,268.02    TRADE PAYABLES
                               AV MIGUEL H ALCIVAR
SEGURIDAD PRIVADA ACTIVE       S/N Y AV FRA                                                                GUAYAQUIL                                 ECUADOR          3/10/2020       $      76,281.39    TRADE PAYABLES
                               AV MIGUEL H ALCIVAR
SEGURIDAD PRIVADA ACTIVE       S/N Y AV FRA                                                                GUAYAQUIL                                 ECUADOR          4/30/2020       $      47,697.11    TRADE PAYABLES
                               AV MIGUEL H ALCIVAR
SEGURIDAD PRIVADA ACTIVE       S/N Y AV FRA                                                                GUAYAQUIL                                 ECUADOR          5/12/2020       $      69,515.91    TRADE PAYABLES
SERVICIO DE AVIACION ALLIED    SANTA ROSA VIA
ECUATOR                        TABABELA # 18 Y VIA                                                         QUITO                                     ECUADOR          2/28/2020       $      49,171.50    TRADE PAYABLES
SERVICIO DE AVIACION ALLIED    SANTA ROSA VIA
ECUATOR                        TABABELA # 18 Y VIA                                                         QUITO                                     ECUADOR          3/10/2020       $      95,771.19    TRADE PAYABLES
                               AV.FRANCISCO DE
SERVICIOS DE RENTAS INTERNAS   ORELLANA                                                                    GUAYAQUIL                                 ECUADOR          1/21/2020       $   2,051,230.89    TRADE PAYABLES
                               AV.FRANCISCO DE
SERVICIOS DE RENTAS INTERNAS   ORELLANA                                                                    GUAYAQUIL                                 ECUADOR          2/19/2020       $     333,755.62    TRADE PAYABLES
                               AV.FRANCISCO DE
SERVICIOS DE RENTAS INTERNAS   ORELLANA                                                                    GUAYAQUIL                                 ECUADOR          4/23/2020       $     630,280.41    TRADE PAYABLES
                               AV.FRANCISCO DE
SERVICIOS DE RENTAS INTERNAS   ORELLANA                                                                    GUAYAQUIL                                 ECUADOR          5/19/2020       $     128,239.53    TRADE PAYABLES
SIGMA AVIATION LLC                                                                                                                                                    3/10/2020       $       8,664.61    TRADE PAYABLES
SINDICATO DE TRABAJADORES DE   URB. LAS CUMBRES SL. 3
AEROLA                         MZ 811                                                                      GUAYAQUIL                                 ECUADOR              3/5/2020    $       7,557.70    TRADE PAYABLES
SINDICATO DE TRABAJADORES DE   URB. LAS CUMBRES SL. 3
AEROLA                         MZ 811                                                                      GUAYAQUIL                                 ECUADOR          4/15/2020       $       7,696.28    TRADE PAYABLES
SINDICATO DE TRABAJADORES DE   URB. LAS CUMBRES SL. 3
AEROLA                         MZ 811                                                                      GUAYAQUIL                                 ECUADOR          5/14/2020       $       1,383.35    TRADE PAYABLES
                               6820 A FRESH MEADOW                                                         FRESH
SKYWAY EXECUTIVE SERVICE INC   LN                                                                          MEADOWS         NY           11365-3421                        3/2/2020    $      16,420.37    TRADE PAYABLES

SL-BACK OFFICE SERVICES S.A.   URB LA GARZOTA SOLAR 7                                                      GUAYAQUIL                                 ECUADOR              3/3/2020    $      12,003.44    TRADE PAYABLES
SOCIEDAD OPERADORA HOTELERA    AVENIDA PRESIDENTE
HA SA                          KENNEDY 172 1727                                                            VITACURA                                  CHILE            3/11/2020       $      15,725.91    TRADE PAYABLES
SOCIEDAD OPERADORA HOTELERA    AVENIDA PRESIDENTE
HA SA                          KENNEDY 172 1727                                                            VITACURA                                  CHILE            4/24/2020       $      16,337.42    TRADE PAYABLES
SUBDIRECCION DE AVIACION       AEROPUERTO DE
CIVIL..                        GUAYAQUIL.                                                                  GUAYAQUIL                                 ECUADOR          3/10/2020       $         541.61    TRADE PAYABLES
SUBDIRECCION DE AVIACION       AEROPUERTO DE
CIVIL..                        GUAYAQUIL.                                                                  GUAYAQUIL                                 ECUADOR          4/21/2020       $     274,548.50    TRADE PAYABLES
SUBDIRECCION DE AVIACION       AEROPUERTO DE
CIVIL..                        GUAYAQUIL.                                                                  GUAYAQUIL                                 ECUADOR          4/23/2020       $     168,553.43    TRADE PAYABLES
SUBDIRECCION DE AVIACION       AEROPUERTO DE
CIVIL..                        GUAYAQUIL.                                                                  GUAYAQUIL                                 ECUADOR          5/18/2020       $       9,040.24    TRADE PAYABLES




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        Creditor Name                 Address1                   Address2                  Address3                  City         State       Zip         Country           Payments          value            or transfer
SUBDIRECCION DE AVIACION        AEROPUERTO DE
CIVIL..                         GUAYAQUIL.                                                                   GUAYAQUIL                                 ECUADOR          5/22/2020       $       6,715.65    TRADE PAYABLES

SUMMIT SECURITY SERVICES, INC. 390 EAB PLAZA                                                                 UNIONDALE       NY           11556                         2/25/2020       $       4,080.88    TRADE PAYABLES

SUMMIT SECURITY SERVICES, INC. 390 EAB PLAZA                                                                 UNIONDALE       NY           11556                             3/9/2020    $       5,048.03    TRADE PAYABLES

SUMMIT SECURITY SERVICES, INC. 390 EAB PLAZA                                                                 UNIONDALE       NY           11556                         3/19/2020       $       3,924.54    TRADE PAYABLES

SUMMIT SECURITY SERVICES, INC. 390 EAB PLAZA                                                                 UNIONDALE       NY           11556                         3/27/2020       $       3,703.45    TRADE PAYABLES

SUPER INTENDENCIA NACIONAL DE AV. PASEO DE LA
ADUANAS Y ADMIN TRIBUTARIA    REPUBLICA 899 LA VI                                                            LIMA                                      PERU             3/19/2020       $      97,629.91    TRADE PAYABLES

SUPER INTENDENCIA NACIONAL DE   AV. PASEO DE LA
ADUANAS Y ADMIN TRIBUTARIA      REPUBLICA 899 LA VI                                                          LIMA                                      PERU             4/22/2020       $      36,781.77    TRADE PAYABLES
SWISSPORT USA INC               45025 AVIATION DRIVE                                                         DULLES          VA           20166                         2/25/2020       $      47,780.44    TRADE PAYABLES
TALMA ECUADOR SERVICIOS
AEROPORTUAR                     VIA ALPACHACA QUITO      PICHINCHA                                           QUITO                                     ECUADOR          3/12/2020       $      39,229.93    TRADE PAYABLES
TALMA ECUADOR SERVICIOS
AEROPORTUAR                     VIA ALPACHACA QUITO     PICHINCHA                                            QUITO                                     ECUADOR              5/1/2020    $     864,815.43    TRADE PAYABLES
TERMINAL DE CARGAS DEL          AV DE LAS AMERICAS SN Y
ECUADOR S.A.                    AV. ISIDRO                                                                   GUAYAQUIL                                 ECUADOR          2/26/2020       $       6,697.53    TRADE PAYABLES
TERMINAL DE CARGAS DEL          AV DE LAS AMERICAS SN Y
ECUADOR S.A.                    AV. ISIDRO                                                                   GUAYAQUIL                                 ECUADOR          5/13/2020       $       3,221.19    TRADE PAYABLES
TESORO NACIONAL AEROCIVIL                                                                                                                                               2/25/2020       $       2,557.98    TRADE PAYABLES
TESORO NACIONAL AEROCIVIL                                                                                                                                                3/5/2020       $      12,519.48    TRADE PAYABLES
TESORO NACIONAL AEROCIVIL                                                                                                                                               3/10/2020       $         854.88    TRADE PAYABLES
TESORO NACIONAL AEROCIVIL                                                                                                                                               3/26/2020       $      21,315.69    TRADE PAYABLES
TESORO NACIONAL AEROCIVIL                                                                                                                                                4/7/2020       $      11,540.88    TRADE PAYABLES
TESORO NACIONAL AEROCIVIL                                                                                                                                               4/22/2020       $      15,416.36    TRADE PAYABLES
THE PORT AUTHORITY OF NY AND
NJ.                             4 WORLD TRADE CENTER.                                                        NEW YORK        NY           10007                         3/12/2020       $      75,390.97    TRADE PAYABLES
                                MALECON 1401 E
TRANSOCEANICA CIA LTDA.         ILLINGWORTH 5 PISO                                                           GUAYAQUIL                                 ECUADOR          2/28/2020       $       2,283.50    TRADE PAYABLES
                                MALECON 1401 E
TRANSOCEANICA CIA LTDA.         ILLINGWORTH 5 PISO                                                           GUAYAQUIL                                 ECUADOR              3/5/2020    $      66,008.31    TRADE PAYABLES
                                MALECON 1401 E
TRANSOCEANICA CIA LTDA.         ILLINGWORTH 5 PISO                                                           GUAYAQUIL                                 ECUADOR          3/10/2020       $      46,378.72    TRADE PAYABLES
                                MALECON 1401 E
TRANSOCEANICA CIA LTDA.         ILLINGWORTH 5 PISO                                                           GUAYAQUIL                                 ECUADOR              5/5/2020    $      80,566.02    TRADE PAYABLES
TRANSP. JORGE CARVAJAL CUEVAS
E.I.R                                                                                                                                                                       4/1/2020    $       1,925.93    TRADE PAYABLES
TRANSP. JORGE CARVAJAL CUEVAS
E.I.R                                                                                                                                                                       4/7/2020    $       2,553.38    TRADE PAYABLES
UNITED STATES DEPT OF
HOMELAND SECU                 245 MURRAY LANE, SW                                                            WASHINGTON DC                20528-0075                        3/2/2020    $      29,775.20    TRADE PAYABLES
UNITED STATES DEPT OF
HOMELAND SECU                 245 MURRAY LANE, SW                                                            WASHINGTON DC                20528-0075                        4/3/2020    $      23,413.60    TRADE PAYABLES




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                                                                                                                                                                   Dates of   Total Amount or     Reasons for payment
         Creditor Name         Address1                Address2                  Address3                  City      State         Zip         Country            Payments          value             or transfer
UNITED STATES DEPT OF
HOMELAND SECU            245 MURRAY LANE, SW                                                       WASHINGTON DC              20528-0075                      5/18/2020       $       11,093.60    TRADE PAYABLES
                                                                                                                                                               TOTAL:         $   16,512,250.13




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                                                                                             Case No. 20-11257
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                                                                                                                                                                 Status of Case Status of Case Status of Case
                                                                                                                                                                   (Pending)     (On Appeal)    (Concluded)
                   Case Title                           Case Number                      Nature of Case                   Court Name or Agency and Location         Yes/No:        Yes/No:        Yes/No:
AEROLANE LINEAS AEREAS NACIONALES DE ECUADOR                                                                            JUZGADO NAC. DE PRIMERA INST. EN
SA C/ EN-DNM S/RECURSO DIRECTO DNM                  017728/2018           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.3, SEC. 5             YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
                                                                                                                        JUZGADO NAC. DE PRIMERA INST. EN
SA C/ EN - DNM S/RECURSO DIRECTO DNM
                                                    9279/2018             ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.7, SEC. 13            YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
                                                                                                                        JUZGADO NAC. DE PRIMERA INST. EN
SA C/ EN - DNM S/RECURSO DIRECTO DNM
                                                    055091/2017           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.1, SEC. 1             YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
                                                                                                                        JUZGADO NAC. DE PRIMERA INST. EN
SA C/ EN - DNM S/RECURSO DIRECTO DNM
                                                    036463/2018           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.3, SEC. 5             YES             NO             NO

AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
                                                                                                                        JUZGADO NAC. DE PRIMERA INST. EN
SA C/ EN - DNM S/RECURSO DIRECTO DNM
                                                    036472/2018           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.7, SEC. 13            YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
SA C/ EN-M INTERIOR OP Y V-DNM S/RECURSO                                                                                JUZGADO NAC. DE PRIMERA INST. EN
DIRECTO DNM                                         024344/2018           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.3, SEC. 5             YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
SA C/ EN-M INTERIOR OP Y V-DNM S/RECURSO                                                                                JUZGADO NAC. DE PRIMERA INST. EN
DIRECTO DNM                                         014442/2017           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.3, SEC. 5             YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
SA C/ EN-M INTERIOR OP Y V-DNM S/RECURSO                                                                                JUZGADO NAC. DE PRIMERA INST. EN
DIRECTO DNM                                         014453/2017           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.10, SEC. 19           YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
SA C/ EN-M INTERIOR OP Y V-DNM S/RECURSO                                                                                JUZGADO NAC. DE PRIMERA INST. EN
DIRECTO DNM                                         014467/2017           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.3, SEC. 5             YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
SA C/ EN-M INTERIOR OP Y V-DNM S/RECURSO                                                                                JUZGADO NAC. DE PRIMERA INST. EN
DIRECTO DNM                                         014478/2017           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.8, SEC. 15            YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
SA C/ EN-M INTERIOR OP Y V-DNM S/RECURSO                                                                                JUZGADO NAC. DE PRIMERA INST. EN
DIRECTO DNM                                         9448/2020             ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED.11, SEC. 22           YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
SA C/ EN-M INTERIOR OP Y V-DNM S/RECURSO                                                                                JUZGADO NAC. DE PRIMERA INST. EN
DIRECTO DNM                                         9450/2020             ADMINISTRATIVE LAWSUIT                        LO CIVIL Y COM. FED 4 SEC 7             YES             NO             NO
AEROLANE LINEAS AEREAS NACIONALES DEL ECUADOR
SA C/ EN-M INTERIOR OP Y V-DNM S/RECURSO                                                                                JUZGADO NAC. DE PRIMERA INST. EN
DIRECTO DNM                                         4949/2020             ADMINISTRATIVE LAWSUIT                        LO CIVIL Y COM. FED 1 SEC 1             YES             NO             NO
                                                                                                                        JUZGADO NAC. DE PRIMERA INST. EN
ANAC - AGÊNCIA NACIONAL DE AVIAÇÃO CIVIL
                                                    074563/2014           ADMINISTRATIVE LAWSUIT                        LO CONT. ADM. FED. 4, SEC. 7            YES             NO             NO
                                                    NO. JUDMENT
CARLOS JAVIER VEINTIMILLA MARQUEZ
                                                    09332-2017-11264      CLIENT                                                                                YES             NO             NO
                                                                                                                        COMMERCIAL AND
CONSUMIDORES LIBRES COOP. LTDA.                                                                                         CIVIL TRIAL COURT NO.
                                                    001408/2017           CO-DEFENDANT (CIVIL CASE)                     11 OF BUENOS AIRES                      YES             YES            NO




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                                                                                              Case No. 20-11257
                        SOFA: Part 3, Question 7 - Legal actions, administrative proceedings, etc. to which the debtor is or was a party within one year of commencement of this case

                                                                                                                                                                 Status of Case Status of Case Status of Case
                                                                                                                                                                   (Pending)     (On Appeal)    (Concluded)
                   Case Title                            Case Number                      Nature of Case                   Court Name or Agency and Location         Yes/No:       Yes/No:        Yes/No:
DIRECCIÓN DE MIGRACIÓN                               RUC 1768170620001     FINE                                                                                  YES            NO             NO
DIRECCIÓN GENERAL DE AVIACIÓN CIVIL                  RUC1768014410001      FINE                                                                                  YES            NO             NO
                                                     NO.
LUISA MARÍA YAZBEK RIVAS                             JUDGMENT91332014
                                                     0816                  LABOR - GENERAL                                                                       YES             NO            NO
SERVICIO DE RENTAS INTERNAS DE ECUADOR               17509-2014-0088       TAX LITIGATION                                                                        YES             NO            NO
SERVICIO DE RENTAS INTERNAS DE ECUADOR               2011090041            TAX LITIGATION                                                                        YES             NO            NO
                                                                                                                         TRIBUNAL DISTRITAL DE LO FISCAL
SERVICIO DE RENTAS INTERNAS DE ECUADOR
                                                     17508-2014-0097   TAX LITIGATION                                    (TDF)                                   YES             NO            NO
SERVICIO NACIONAL DE ADUANA DEL ACUADOR              RUC 0968583450001 FINE                                                                                      YES             NO            NO




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                                               SOFA: Part 7, Question 14 - Previous locations of debtor, all premises occupied and vacated within 3 years preceding commencement of this case




                                                                                                                                                                                                                         Date of      Date of
                Description of Location                                        Address 1                                                    City                          State                 Zip        Country   Occupancy From Occupancy To
ADMINISTRATIVE SPACE                      AMERICO VESPUCIO 901, RENCA                                                           SANTIAGO                                                              CHILE               11/19/2019     PRESENT
ADMINISTRATIVE SPACE                      APOQUINDO 5950, PISO 4, LAS CONDES.                                                   SANTIAGO                                                              CHILE                 8/7/2019     PRESENT
ADMINISTRATIVE SPACE                      AV. ANDRES REYES NRO. 338 URB. JARDIN (PISO 6) SAN ISIDRO                             LIMA                                                                  PERU                 11/1/2018   5/31/2020
ADMINISTRATIVE SPACE                      AV. AREQUIPA 4005                                                                     LIMA                                                                  PERU                UNKNOWN        PRESENT
ADMINISTRATIVE SPACE                      AV. AREQUIPA 4005 - MIRAFLORES                                                        LIMA                                                                  PERU                  7/3/1905     PRESENT
ADMINISTRATIVE SPACE                      AV. ELMER FAUCETT 2823 INT 401                                                        LIMA                                                                  PERU                UNKNOWN        PRESENT
ADMINISTRATIVE SPACE                      AV. JOSE PARDO 513                                                                    LIMA                                                                  PERU                UNKNOWN        PRESENT
ADMINISTRATIVE SPACE                      AV. JOSÉ PARDO 513                                                                    LIMA                                                                  PERU                UNKNOWN        PRESENT
ADMINISTRATIVE SPACE                      AV. PDTE. RIESCO 5711, PISO 10-17-18-19-20. LAS CONDES                                SANTIAGO                                                              CHILE               12/27/2019     PRESENT
ADMINISTRATIVE SPACE                      AV. PDTE. RIESCO 5711, PISO 6. LAS CONDES.                                            SANTIAGO                                                              CHILE                 4/2/2007     PRESENT
ADMINISTRATIVE SPACE                      AV. PDTE. RIESCO 5711, PISO 7. LAS CONDES.                                            SANTIAGO                                                              CHILE                 4/1/2011     PRESENT
ADMINISTRATIVE SPACE                      AV. RAFAEL OBLIGADO 1221                                                              BUENOS AIRES                                                          ARGENTINA           UNKNOWN        PRESENT
ADMINISTRATIVE SPACE                      AV.ANGAMOS OESTE 686                                                                  LIMA                                                                  PERU                 10/1/2018     PRESENT
ADMINISTRATIVE SPACE                      BASE DE MANTENIMIENTO LAN EN CÉSAR LAVÍN TORO Nº 2198                                 SANTIAGO                                                              CHILE               UNKNOWN        PRESENT
ADMINISTRATIVE SPACE                      CAL. JULIO EL CORROBARRUTIA 628                                                       LIMA                                                                  PERU                UNKNOWN        PRESENT
ADMINISTRATIVE SPACE                      CAR. COSTANERA SUR KM 7-8                                                             LIMA                                                                  PERU                UNKNOWN        PRESENT
ADMINISTRATIVE SPACE                      CERRO EL PLOMO 5718, PISO 19. LAS CONDES                                              SANTIAGO                                                              CHILE                11/1/2009     PRESENT
ADMINISTRATIVE SPACE                      CERRO EL PLOMO 5718, PISO 6. LAS CONDES                                               SANTIAGO                                                              CHILE                5/22/2007     PRESENT
ADMINISTRATIVE SPACE                      ESTADO 10 PISO 16 SANTIAGO, OF. 1602                                                  SANTIAGO                                                              CHILE                 9/7/2007    4/5/2020
ADMINISTRATIVE SPACE                      ESTADO 10 PISO 6 SANTIAGO, PISO 6                                                     SANTIAGO                                                              CHILE                 4/1/2013   3/16/2020
ADMINISTRATIVE SPACE                      ESTADO 10, PISO 0-2-3-10-11-12-13-18-19-20-21, SANTIAGO                               SANTIAGO                                                              CHILE               12/27/2019     PRESENT
ADMINISTRATIVE SPACE                      PBLO. SAUSA JR. FRANCISCO CARLE S/N                                                   LIMA                                                                  PERU                UNKNOWN        PRESENT
ADMINISTRATIVE SPACE                      ROSARIO NTE 100, PISO 11. LAS CONDES.                                                 SANTIAGO                                                              CHILE               11/30/2012     PRESENT
ADMINISTRATIVE SPACE                      ROSARIO NTE 407, PISO 12, LAS CONDES                                                  SANTIAGO                                                              CHILE                 4/1/2014     PRESENT
ADMINISTRATIVE SPACE                      SEC. SHUMBA S/N                                                                       LIMA                                                                  PERU                UNKNOWN        PRESENT
AIRPORT                                   ADZ - GUSTAVO ROJAS PINILLA INTERNATIONAL AIRPORT                                     SAN ANDRÉS                                                            COLOMBIA            UNKNOWN        PRESENT
AIRPORT                                   AEP - JORGE NEWBERY AIRPARK                                                           BUENOS AIRES                                                          ARGENTINA           UNKNOWN        PRESENT
AIRPORT                                   AEROPUERTO INTERNACIONAL ELOY ALFARO                                                  MANTA                                                                 ECUADOR             UNKNOWN        PRESENT
AIRPORT                                   AEROPUERTO INTERNACIONAL MATECAÑA                                                     PEREIRA                                                               COLOMBIA            UNKNOWN        PRESENT
AIRPORT                                   AKL - AUCKLAND AIRPORT                                                                AUCKLAND                                                              NEW ZEALAND         UNKNOWN        PRESENT
AIRPORT                                   ANF - CERRO MORENO                                                                    ANTOFAGASTA                                                           CHILE               UNKNOWN        PRESENT
AIRPORT                                   AQP - RODRÍGUEZ BALLÓN INTERNATIONAL AIRPORT                                          AREQUIPA                                                              PERU                UNKNOWN        PRESENT
AIRPORT                                   ARI - CHACALLUTA AIRPORT                                                              ARICA                                                                 CHILE               UNKNOWN        PRESENT
AIRPORT                                   ASU - SILVIO PETTIROSSI INTERNATIONAL AIRPORT                                         ASUNCIÓN                                                              PARAGUAY            UNKNOWN        PRESENT
AIRPORT                                   AYP - AYACUCHO AIRPORT                                                                AYACUCHO                                                              PERU                UNKNOWN        PRESENT
AIRPORT                                   BAQ - AEROPUERTO INTERNACIONAL ERNESTO CORTISSOZ                                      BARRANQUILLA                                                          COLOMBIA            UNKNOWN        PRESENT
AIRPORT                                   BBA - BALMACEDA AIRPORT                                                               BALMACEDA                                                             CHILE               UNKNOWN        PRESENT
AIRPORT                                   BCN - BARCELONA AIRPORT - EL PRAT                                                     BARCELONA                                                             SPAIN               UNKNOWN        PRESENT
AIRPORT                                   BEL - BOTHWELL AIRPORT                                                                BELÉM                                                                 BRAZIL              UNKNOWN        PRESENT
AIRPORT                                   BGA -PALONEGRO AIRPORT                                                                BUCARAMANGA                                                           COLOMBIA            UNKNOWN        PRESENT
AIRPORT                                   BOG - EL DORADO INTERNATIONAL AIRPORT                                                 BOGOTÁ                                                                COLOMBIA            UNKNOWN        PRESENT
AIRPORT                                   BOS - GENERAL EDWARD LAWRENCE LOGAN INTERNATIONAL AIRPORT                             BOSTON                                                                                    UNKNOWN        PRESENT
AIRPORT                                   BPS - PORTO SEGURO AIRPORT                                                            PORTO SEGURO                                                          BRAZIL              UNKNOWN        PRESENT
AIRPORT                                   BRC - SAN CARLOS DE BARILOCHE AIRPORT                                                 SAN CARLOS DE BARILOCHE                                               ARGENTINA           UNKNOWN        PRESENT
AIRPORT                                   BSB - BRASILIA INTERNATIONAL AIRPORT                                                  BRASILIA                                                              BRAZIL              UNKNOWN        PRESENT
AIRPORT                                   BVB - BOA VISTA INTERNATIONAL AIRPORT                                                 BOA VISTA                                                             BRAZIL              UNKNOWN        PRESENT
AIRPORT                                   CCP - CARRIEL SUR AIRPORT                                                             CONCEPCIÓN                                                            CHILE               UNKNOWN        PRESENT
AIRPORT                                   CDG - PARIS CHARLES DE GAULLE AIRPORT                                                 PARIS                                                                 FRANCE              UNKNOWN        PRESENT
AIRPORT                                   CGB - MARECHAL RONDON INTERNATIONAL AIRPORT                                           CUIABÁ                                                                BRAZIL              UNKNOWN        PRESENT
AIRPORT                                   CGH - SÃO PAULO–CONGONHAS AIRPORT                                                     CONGONHAS                                                             BRAZIL              UNKNOWN        PRESENT
AIRPORT                                   CGR - CAMPO GRANDE INTERNATIONAL AIRPORT                                              CAMPO GRANDE                                                          BRAZIL              UNKNOWN        PRESENT

AIRPORT                                   CIX - CHICLAYO - CAPITAN FAP JOSE A QUINONES GONZALES INTERNATIONAL AIRPORT           CHICLAYO                                                              PERU               UNKNOWN        PRESENT
AIRPORT                                   CJA - CAJAMARCA - MAYOR GENERAL FAP ARMANDO REVOREDO IGLESIAS AIRPORT                 CAJAMARCA                                                             PERU               UNKNOWN        PRESENT
AIRPORT                                   CJC - CALAMA - EL LOA AIRPORT                                                         CALAMA                                                                CHILE              UNKNOWN        PRESENT
AIRPORT                                   CLO - ALFONSO BONILLA ARAGON INTERNATIONAL AIRPORT                                    CALI                                                                  COLOMBIA           UNKNOWN        PRESENT
AIRPORT                                   CLV -NELSON RIBEIRO GUIMARÃES AIRPORT                                                 CALDAS NOVAS                                                          BRAZIL             UNKNOWN        PRESENT
AIRPORT                                   CNF - BELO HORIZONTE INTERNATIONAL AIRPORT                                            CONFINS                                                               BRAZIL             UNKNOWN        PRESENT
AIRPORT                                   COR - INGENIERO AMBROSIO TARAVELLA AIRPORT                                            CORDOBA                                                               ARGENTINA          UNKNOWN        PRESENT
AIRPORT                                   CPO - DESIERTO DE ATACAMA AIRPORT                                                     COPIAPÓ                                                               CHILE              UNKNOWN        PRESENT
AIRPORT                                   CRD - GENERAL E. MOSCONI AIRPORT                                                      COMODORO RIVADAVIA                                                    ARGENTINA          UNKNOWN        PRESENT
AIRPORT                                   CTG - RAFAEL NUÑEZ INTERNATIONAL AIRPORT                                              CARTAGENA                                                             COLOMBIA           UNKNOWN        PRESENT




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                                                                                                                                                                                                                     Date of      Date of
          Description of Location                                       Address 1                                                     City                          State                 Zip          Country   Occupancy From Occupancy To
AIRPORT                             CUC - AEROPUERTO INTERNACIONAL CAMILO DAZA                                            CÚCUTA                                                                COLOMBIA              UNKNOWN        PRESENT
AIRPORT                             CUE - MARISCAL LAMAR AIRPORT                                                          CUENCA                                                                ECUADOR               UNKNOWN        PRESENT
AIRPORT                             CUN - CANCUN INTERNATIONAL AIRPORT                                                    CANCÚN                                                                MEXICO                UNKNOWN        PRESENT
AIRPORT                             CUZ - CUSCO - ALEJANDRO VELASCO ASTETE INTERNATIONAL AIRPORT                          CUZCO                                                                 PERU                  UNKNOWN        PRESENT
AIRPORT                             CWB - AFONSO PENA INTERNATIONAL AIRPORT                                               CURITIBA                                                              BRAZIL                UNKNOWN        PRESENT
AIRPORT                             EYP - EL YOPAL AIRPORT                                                                YOPAL                                                                 COLOMBIA              UNKNOWN        PRESENT
AIRPORT                             EZE - MINISTRO PISTARINI INTERNATIONAL AIRPORT                                        BUENOS AIRES                                                          ARGENTINA             UNKNOWN        PRESENT
AIRPORT                             FLN - FLORIANÓPOLIS-HERCÍLIO LUZ INTERNATIONAL AIRPORT                                FLORIANOPOLIS                                                         BRAZIL                UNKNOWN        PRESENT
AIRPORT                             FOR - FORTALEZA-PINTO MARTINS INTERNATIONAL AIRPORT                                   FORTALEZA                                                             BRAZIL                UNKNOWN        PRESENT
AIRPORT                             FRA - FRANKFURT AM MAIN AIRPORT                                                       FRANKFURT                                                             GERMANY               UNKNOWN        PRESENT
AIRPORT                             FTE - EL CALAFATE AIRPORT                                                             CALAFATE                     RIO NEGRO                                ARGENTINA             UNKNOWN        PRESENT
AIRPORT                             GIG - RIO DE JANEIRO/GALEÃO – ANTONIO CARLOS JOBIM INTERNATIONAL AIRPORT              GALEÃO                                                                BRAZIL                UNKNOWN        PRESENT
AIRPORT                             GPS - SEYMOUR AIRPORT                                                                 BALTRA                                                                ECUADOR               UNKNOWN        PRESENT
AIRPORT                             GRU - GOVERNADOR ANDRÉ FRANCO MONTORO INTERNATIONAL AIRPORT                           GUARULHOS                                                             BRAZIL                UNKNOWN        PRESENT
AIRPORT                             GYE - JOSÉ JOAQUÍN DE OLMEDO INTERNATIONAL AIRPORT                                    GUAYAQUIL                                                             ECUADOR               UNKNOWN        PRESENT
AIRPORT                             GYN - SANTA GENOVEVA/GOIÂNIA AIRPORT                                                  GOIANIA                                                               BRAZIL                UNKNOWN        PRESENT
AIRPORT                             HAV - JOSÉ MARTÍ INTERNATIONAL AIRPORT                                                LA HABANA                                                             CUBA                  UNKNOWN        PRESENT
AIRPORT                             IGR - CATARATAS DEL IGUAZÚ INTERNATIONAL AIRPORT                                      PUERTO IGUAZU                                                         ARGENTINA             UNKNOWN        PRESENT
AIRPORT                             IGU - FOZ DO IGUAÇU/CATARATAS INTERNATIONAL AIRPORT                                   FOZ DO IGUAÇÚ                                                         BRAZIL                UNKNOWN        PRESENT
AIRPORT                             ILQ - ILO - ILO AIRPORT                                                               ILO                                                                   PERU                  UNKNOWN        PRESENT
AIRPORT                             IMP - IMPERATRIZ-PREFEITO RENATO MOREIRA AIRPORT                                      IMPERATRIZ                                                            BRAZIL                UNKNOWN        PRESENT
AIRPORT                             IOS - BAHIA - JORGE AMADO AIRPORT                                                     ILHEUS                                                                BRAZIL                UNKNOWN        PRESENT
AIRPORT                             IPC - MATAVERI AIRPORT                                                                ISLA DE PASCUA                                                        CHILE                 UNKNOWN        PRESENT
AIRPORT                             IQQ - DIEGO ARACENA AIRPORT                                                           IQUIQUE                                                               CHILE                 UNKNOWN        PRESENT

AIRPORT                             IQT - IQUITOS - CORONEL FAP FRANCISCO SECADA VIGNETTA INTERNATIONAL AIRPORT           IQUITOS                                                               PERU                 UNKNOWN        PRESENT
AIRPORT                             JAE - JAE - SHUMBA AIRPORT                                                            JAÉN                                                                  PERU                 UNKNOWN        PRESENT
AIRPORT                             JAU - JAUJA - FRANCISCO CARLE AIRPORT                                                 JAUJA                                                                 PERU                 UNKNOWN        PRESENT
AIRPORT                             JFK - JOHN F. KENNEDY INTERNATIONAL AIRPORT                                           NEW YORK                                                                                   UNKNOWN        PRESENT
AIRPORT                             JJG - HUMBERTO GHIZZO BORTOLUZZI REGIONAL AIRPORT                                     JAGUARUNA                                                             BRAZIL               UNKNOWN        PRESENT
AIRPORT                             JNB - O. R. TAMBO INTERNATIONAL AIRPORT                                               JOHANNESBURGO                                                         SOUTH AFRICA         UNKNOWN        PRESENT
AIRPORT                             JOI - JOINVILLE-LAURO CARNEIRO DE LOYOLA AIRPORT                                      JOINVILLE                                                             BRAZIL               UNKNOWN        PRESENT
AIRPORT                             JPA - PRESIDENTE CASTRO PINTO INTERNATIONAL AIRPORT                                   JOÃO PESSOA                                                           BRAZIL               UNKNOWN        PRESENT
AIRPORT                             JTC - MOUSSA NAKHL TOBIAS–BAURU/AREALVA STATE AIRPORT                                 BAURU                                                                 BRAZIL               UNKNOWN        PRESENT
AIRPORT                             JUL - INCA MANCO CÁPAC INTERNATIONAL AIRPORT                                          JULIACA                                                               PERU                 UNKNOWN        PRESENT
AIRPORT                             LAX - LOS ANGELES INTERNATIONAL AIRPORT                                               LOS ANGELES                                                                                UNKNOWN        PRESENT
AIRPORT                             LDB - LONDRINA – GOV. JOSÉ RICHA AIRPORT                                              LONDRINA                                                              BRAZIL               UNKNOWN        PRESENT
AIRPORT                             LET -ALFREDO VÁSQUEZ COBO INTERNATIONAL AIRPORT                                       LETICIA                                                               COLOMBIA             UNKNOWN        PRESENT
AIRPORT                             LHR - HEATHROW AIRPORT                                                                LONDON                                                                UNITED KINGDOM       UNKNOWN        PRESENT
AIRPORT                             LIM - LIMA - JORGE CHÁVEZ INTERNATIONAL AIRPORT                                       LIMA                                                                  PERU                 UNKNOWN        PRESENT
AIRPORT                             LIS - HUMBERTO DELGADO AIRPORT                                                        LISBOA                                                                PORTUGAL             UNKNOWN        PRESENT
AIRPORT                             LPB - EL ALTO INTERNATIONAL AIRPORT                                                   LA PAZ                                                                BOLIVIA              UNKNOWN        PRESENT
AIRPORT                             LSC - LA FLORIDA AIRPORT                                                              LA SERENA                                                             CHILE                UNKNOWN        PRESENT
AIRPORT                             MAB - JOÃO CORREA DA ROCHA AIRPORT                                                    MARABÁ                                                                BRAZIL               UNKNOWN        PRESENT
AIRPORT                             MAD - ADOLFO SUÁREZ MADRID–BARAJAS AIRPORT                                            MADRID                                                                SPAIN                UNKNOWN        PRESENT
AIRPORT                             MAO - MANAUS INTERNATIONAL AIRPORT                                                    MANAUS                                                                BRAZIL               UNKNOWN        PRESENT
AIRPORT                             MBJ - SANGSTER INTERNATIONAL AIRPORT                                                  MONTEGO BAY                                                           JAMAICA              UNKNOWN        PRESENT
AIRPORT                             MCO - ORLANDO INTERNATIONAL AIRPORT                                                   ORLANDO                                                                                    UNKNOWN        PRESENT
AIRPORT                             MCP - MACAPÁ-ALBERTO ALCOLUMBRE INTERNATIONAL AIRPORT                                 MACAPÁ                                                                BRAZIL               UNKNOWN        PRESENT
AIRPORT                             MCZ - MACEIÓ/ZUMBI DOS PALMARES INTERNATIONAL AIRPORT                                 MACEIO                                                                BRAZIL               UNKNOWN        PRESENT
AIRPORT                             MDE - JOSE MARIA CÓRDOVA INTERNATIONAL AIRPORT                                        MEDELLÍN                                                              COLOMBIA             UNKNOWN        PRESENT
AIRPORT                             MDZ - EL PLUMERILLO AIRPORT                                                           MENDOZA                                                               ARGENTINA            UNKNOWN        PRESENT
AIRPORT                             MEL - MELBOURNE AIRPORT                                                               MELBOURNE                                                             AUSTRALIA            UNKNOWN        PRESENT
AIRPORT                             MEX - MEXICO CITY INTERNATIONAL AIRPORT                                               CIUDAD DE MEX                                                         MEXICO               UNKNOWN        PRESENT
AIRPORT                             MGF - SÍLVIO NAME JÚNIOR REGIONAL AIRPORT                                             MARINGÁ                                                               BRAZIL               UNKNOWN        PRESENT
AIRPORT                             MHC - MOCOPULLI AIRPORT                                                               CHILOÉ                                                                CHILE                UNKNOWN        PRESENT
AIRPORT                             MIA - MIAMI INTERNATIONAL AIRPORT                                                     MIAMI                                                                                      UNKNOWN        PRESENT
AIRPORT                             MTR -LOS GARZONES AIRPORT                                                             MONTERÍA                                                              COLOMBIA             UNKNOWN        PRESENT
AIRPORT                             MVD - CARRASCO INTERNATIONAL /GENERAL C L BERISSO AIRPORT                             MONTEVIDEO                                                            URUGUAY              UNKNOWN        PRESENT
AIRPORT                             MXP - MILAN MALPENSA AIRPORT                                                          MILÁN                                                                 ITALY                UNKNOWN        PRESENT
AIRPORT                             NAT - AUGUSTO SEVERO INTERNATIONAL AIRPORT                                            NATAL                                                                 BRAZIL               UNKNOWN        PRESENT
AIRPORT                             NQN - PRESIDENTE PERON AIRPORT                                                        NEUQUÉN                                                               ARGENTINA            UNKNOWN        PRESENT




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                                                                                                                                                                                                                                Date of      Date of
                 Description of Location                                       Address 1                                                  City                             State                 Zip         Country        Occupancy From Occupancy To
AIRPORT                                    NVT - NAVEGANTES–MINISTRO VICTOR KONDER INTERNATIONAL AIRPORT                         NAVEGANTES                                                            BRAZIL                    UNKNOWN        PRESENT
AIRPORT                                    OCC - FRANCISCO DE ORELLANA AIRPORT                                                   COSA                                                                  ECUADOR                   UNKNOWN        PRESENT
                                           PCL - PUCALLPA - CAP FAP DAVID ABENZUR RENGIFO INTERNATIONAL AIRPORT
AIRPORT                                    INTERNATIONAL AIRPORT                                                                 PUCALLPA                                                              PERU                     UNKNOWN        PRESENT
AIRPORT                                    PDP - CAPITAN CORBETA CA CURBELO INTERNATIONAL AIRPORT                                PUNTA DEL ESTE                                                        URUGUAY                  UNKNOWN        PRESENT
AIRPORT                                    PEM - PADRE ALDAMIZ INTERNATIONAL AIRPORT                                             PUERTO MALDONADO                                                      PERU                     UNKNOWN        PRESENT
AIRPORT                                    PIU - PIURA - CAPITÁN FAP GUILLERMO CONCHA IBERICO INTERNATIONAL AIRPORT              PIURA                                                                 PERU                     UNKNOWN        PRESENT
AIRPORT                                    PMC - EL TEPUAL AIRPORT                                                               PUERTO MONTT                                                          CHILE                    UNKNOWN        PRESENT
AIRPORT                                    PMW - PALMAS–BRIGADEIRO LYSIAS RODRIGUES AIRPORT                                      PALMAS                                                                BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    PNT - TTE. JULIO GALLARDO AIRPORT                                                     PUERTO NATALES                                                        CHILE                    UNKNOWN        PRESENT
AIRPORT                                    POA - SALGADO FILHO INTERNATIONAL AIRPORT                                             PORTO ALEGRE                                                          BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    PPT - FAA'A INTERNATIONAL AIRPORT                                                     PAPETE                                                                TAHITI                   UNKNOWN        PRESENT
AIRPORT                                    PUJ - PUNTA CANA INTERNATIONAL AIRPORT                                                PUNTA CANA                                                            DOMINICAN REPUBLIC       UNKNOWN        PRESENT
AIRPORT                                    PUQ - PDTE. CARLOS IBAÑEZ DEL CAMPO AIRPORT                                           PUNTA ARENAS                                                          CHILE                    UNKNOWN        PRESENT
                                           PVH - PORTO VELHO-GOVERNADOR JORGE TEIXEIRA DE OLIVEIRA INTERNATIONAL
AIRPORT                                    AIRPORT                                                                               PORTO VELHO                                                           BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    RAO - DR. LEITE LOPES–RIBEIRÃO PRETO STATE AIRPORT                                    RIBEIRO PRETO                                                         BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    RBR - RIO BRANCO-PLÁCIDO DE CASTRO INTERNATIONAL AIRPORT                              RIO BRANCO                                                            BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    REC - AEROPORTO INTERNACIONAL DO RECIFE/GUARARAPES                                    RECIFE                                                                BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    RGL - PILOTO CIVIL N. FERNÁNDEZ AIRPORT                                               RIO GALLEGOS                 SANTA CRUZ                               ARGENTINA                UNKNOWN        PRESENT
AIRPORT                                    ROS - ISLAS MALVINAS AIRPORT                                                          ROSARIO                      SANTA FE                                 ARGENTINA                UNKNOWN        PRESENT
AIRPORT                                    SANTA MARIA ARPT (AJU)                                                                ARACAJU                                                               BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    SCL - COMODORO ARTURO MERINO BENÍTEZ INTERNATIONAL AIRPORT                            SANTIAGO                                                              CHILE                    UNKNOWN        PRESENT
AIRPORT                                    SCY - SAN CRISTÓBAL AIRPORT                                                           SAN CRISTÓBAL                                                         ECUADOR                  UNKNOWN        PRESENT
AIRPORT                                    SDU - RIO DE JANEIRO-SANTOS DUMONT AIRPORT                                            SANTOS DUMOND                                                         BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    SFO - SAN FRANCISCO INTERNATIONAL AIRPORT                                             SAN FRANCISCO                                                                                  UNKNOWN        PRESENT
AIRPORT                                    SJO - JUAN SANTAMARÍA INTERNATIONAL AIRPORT                                           SAN JOSÉ                                                              COSTA RICA               UNKNOWN        PRESENT
AIRPORT                                    SJP - PROF. ERIBELTO MANOEL REINO–SÃO JOSÉ DO RIO PRETO STATE AIRPORT                 SÃO JOSÉ DO RIO PRETO                                                 BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    SLA - MARTIN MIGUEL DE GUEMES INTERNATIONAL AIRPORT                                   SALTA                                                                 ARGENTINA                UNKNOWN        PRESENT
AIRPORT                                    SLZ - MARECHAL CUNHA MACHADO INTERNATIONAL AIRPORT                                    SÃO LUIZ                                                              BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    SMR- AEROPUERTO INTERNACIONAL SIMÓN BOLÍVAR                                           SANTA MARTA                                                           COLOMBIA                 UNKNOWN        PRESENT
AIRPORT                                    SSA - SALVADOR – DEPUTADO LUÍS EDUARDO MAGALHÃES INTERNATIONAL AIRPORT                SALVADOR                                                              BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    STM - MAESTRO WILSON FONSECA AIRPORT                                                  SANTARÉM                                                              BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    SYD - SYDNEY (KINGSFORD SMITH) AIRPORT                                                SYDNEY                                                                AUSTRALIA                UNKNOWN        PRESENT
AIRPORT                                    TBP - TUMBES - CAPITAN FAP PEDRO CANGA RODRIGUEZ AIRPORT                              TUMBES                                                                PERU                     UNKNOWN        PRESENT
AIRPORT                                    TCQ - TACNA - CORONEL FAP CARLOS CIRIANI SANTA ROSA INTERNATIONAL AIRPORT             TACNA                                                                 PERU                     UNKNOWN        PRESENT
AIRPORT                                    THE - SENADOR PETRÔNIO PORTELA AIRPORT                                                TERESINA                                                              BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    TLV - BEN GURION AIRPORT                                                              TEL AVIV                                                              ISRAEL                   UNKNOWN        PRESENT
AIRPORT                                    TPP - TARAPOTO - CADETE FAP GUILLERMO DEL CASTILLO PAREDES AIRPORT                    TARAPOTO                                                              PERU                     UNKNOWN        PRESENT
                                           TRU - TRUJILLO - CAPITAN FAP CARLOS MARTINEZ DE PINILLOS INTERNATIONAL
AIRPORT                                    AIRPORT                                                                               TRUJILLO                                                              PERU                     UNKNOWN        PRESENT
AIRPORT                                    TUC - TENIENTE BENJAMIN MATIENZO AIRPORT                                              TUCUMAN                                                               ARGENTINA                UNKNOWN        PRESENT
AIRPORT                                    TYL - TALARA - CAPITAN MONTES AIRPORT                                                 TALARA                                                                PERU                     UNKNOWN        PRESENT
AIRPORT                                    UDI - UBERLÂNDIA–TEN. CEL. AV. CÉSAR BOMBONATO AIRPORT                                UBERLANDIA                                                            BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    UIO - MARISCAL SUCRE INTERNATIONAL AIRPORT                                            QUITO                                                                 ECUADOR                  UNKNOWN        PRESENT
AIRPORT                                    UNA - UNA-COMANDATUBA AIRPORT                                                         COMANDATUBA                                                           BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    USH - MALVINAS ARGENTINAS AIRPORT                                                     USHUAIA                      TIERRA DEL FUEGO                         ARGENTINA                UNKNOWN        PRESENT
AIRPORT                                    VCP - VIRACOPOS – CAMPINAS INTERNATIONAL AIRPORT                                      VIRACOPOS                                                             BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    VIX - EURICO DE AGUIAR SALLES AIRPORT                                                 VITORIA                                                               BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    VUP - AEROPUERTO INTERNACIONAL DE VIRACOPOS                                           VALLEDUPAR                                                            COLOMBIA                 UNKNOWN        PRESENT
AIRPORT                                    VVI - VIRU VIRU INTERNATIONAL AIRPORT                                                 SANTA CRUZ                                                            BOLIVIA                  UNKNOWN        PRESENT
AIRPORT                                    XAP - SERAFIN ENOSS BERTASO AIRPORT                                                   CHAPECÓ                                                               BRAZIL                   UNKNOWN        PRESENT
AIRPORT                                    ZAL - PICHOY AIRPORT                                                                  VALDIVIA                                                              CHILE                    UNKNOWN        PRESENT
AIRPORT                                    ZCO - LA ARAUCANÍA AIRPORT                                                            TEMUCO                                                                CHILE                    UNKNOWN        PRESENT
AIRPORT                                    ZOS - CAÑAL BAJO CARLOS - HOTT SIEBERT AIRPORT                                        OSORNO                                                                CHILE                    UNKNOWN        PRESENT
AIRPORT                                    KONINGIN BEATRIX LUCHTHAVEN Z/N, G2-100                                               ORANJESTAD                                                            ARUBA                     7/17/2013   10/25/2019
AIRPORT OFFICE                             AEP - JORGE NEWBERRY AIRPARK                                                          BUENOS AIRES                                                          ARGENTINA                UNKNOWN        PRESENT
                                           AEROPUERTO ADOLFO SUÁREZ MADRID BARAJAS T4 - PLANTA 2 - PF 98, 28042
AIRPORT OFFICE                             MADRID - SPAIN                                                                        MADRID                                                                SPAIN                      3/1/2016     PRESENT
AIRPORT OFFICE                             AEROPUERTO INTERNACIONAL GUSTAVO ROJAS PINILLA                                        SAN ANDRÉS                   SAN ANDRÉS Y PROVIDENCIA                 COLOMBIA                  4/26/2017     PRESENT
AIRPORT OFFICE                             AEROPUERTO INTERNACIONAL JOSÉ MARÍA CÓRDOVA                                           MEDELLIN                     ANTIOQUIA                                COLOMBIA                  3/14/2012     PRESENT
AIRPORT OFFICE                             BEN GURION AIRPORT, TERMINAL 3, 4TH FLOOR, TEL AVIV - STATE OF ISRAEL                 TEL AVIV                                                              ISRAEL                     9/1/2018     PRESENT




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                                                                                                                                                                                                                                        Date of      Date of
                 Description of Location                                                    Address 1                                                    City                          State                 Zip         Country    Occupancy From Occupancy To
AIRPORT OFFICE                                         BP 330 MAUREGARD - 95713 ROISSY CDG CEDEX                                             PARIS                                                                 FRANCE                 3/24/2013     PRESENT
AIRPORT OFFICE                                         BRC - SAN CARLOS DE BARILOCHE                                                         BARILOCHE                    RIO NEGRO                                ARGENTINA             UNKNOWN        PRESENT
AIRPORT OFFICE                                         COR - INGENIERO AMBROSIO TARAVELLA                                                    CORDOBA                                                               ARGENTINA             UNKNOWN        PRESENT
AIRPORT OFFICE                                         CRD - GENERAL ENRIQUE MOSCONI                                                         COMODORO RIVADAVIA                                                    ARGENTINA             UNKNOWN        PRESENT
AIRPORT OFFICE                                         EZE - MINISTRO PISTARINI INTERNATIONAL AIRPORT                                        EZEIZA                       BUENOS AIRES                             ARGENTINA             UNKNOWN        PRESENT
                                                       HEATHROW AIRPORT - LONDON, ROOM 2501 - 3, TERMINAL 3 - MIDDLESEX TW6 1AA -
AIRPORT OFFICE                                         UK                                                                                    LONDRES                                                               UNITED KINGDOM         6/1/2015     PRESENT
AIRPORT OFFICE                                         IGR - CARLOS EDUARDO KRAUSE                                                           IGUAZU                       MISIONES                                 ARGENTINA            UNKNOWN        PRESENT
AIRPORT OFFICE                                         NAVE MODULAR 2-113 - AEROPUERTO MADRID BARAJAS - ESPAÑA                               MADRID                                                                SPAIN                 4/23/2014    4/22/2019
AIRPORT OFFICE                                         RGL - PILOTO CIVIL N. FERNANDEZ                                                       RIO GALLEGOS                 SANTA CRUZ                               ARGENTINA            UNKNOWN        PRESENT
AIRPORT OFFICE                                         RUTA 101 KM 19.950                                                                    CANELONES                                                             URUGUAY               12/1/2009     PRESENT
AIRPORT OFFICE                                         RUTA 93 KM 113 LAGUNA DEL SAUCE                                                       MALDONADO                                                             URUGUAY                4/1/2005     PRESENT
AIRPORT OFFICE                                         SAMQ - MENDOZA AIRPARK                                                                MENDOZA                                                               ARGENTINA            UNKNOWN        PRESENT
AIRPORT OFFICE                                         SLA - MARTIN MIGUEL DE GUEMES INTERNATIONAL                                           SALTA                                                                 ARGENTINA            UNKNOWN        PRESENT
AIRPORT OFFICE                                         TERMINAL 1 - AEROPUERTO EL PRAT - 08820 EL PRAT DE LLOBREGAT                          BARCELONA                                                             SPAIN                 9/15/2015     PRESENT
AIRPORT OFFICE                                         TERMINAL 1 - FRANKFURT AIRPORT - 60549 FRANKFURT AM MAIN - GERMANY                    FRANKFURT                                                             GERMANY                6/1/2013     PRESENT
AIRPORT OFFICE                                         TERMINAL 1 PIANO 2, PORTA 18, AEROPORTO MALPENSA 21010 –FERNO - ITALIA                MILAN                                                                 ITALY                 10/1/2016     PRESENT
AIRPORT OFFICE                                         TUC - TENIENTE BENJAMIN MATIENZO                                                      TUCUMAN                                                               ARGENTINA            UNKNOWN        PRESENT
AIRPORT PROPERTY                                       MIAMI INTERNATIONAL AIRPORT, 6500 NW 22ND ST                                          MIAMI                        FL                             33122                          UNKNOWN        PRESENT
                                                       AEROPUERTO CAPITÁN FAP JOSÉ ABELARDO QUIÑÓNEZ GONZÁLES. AV. BOLOGNESI
BACK OFFICE                                            S/N, CHICLAYO – LAMBAYEQUE PERÚ                                                       CHICLAYO                                                              PERU                 UNKNOWN        PRESENT
                                                       AEROPUERTO CARLOS MARTÍNEZ PINILLOS. AV. AEROPUERTO S/N COMUNIDAD
BACK OFFICE                                            CAMPESINAL HUANCHACO, TRUJILLO, REGIÓN LA LIBERTAD – PERÚ                             TRUJILLO                                                              PERU                 UNKNOWN        PRESENT
                                                       AEROPUERTO INTERNACIONAL DE CUZCO-VELASCO ASTETE. AV. VELASCO ASTETE S/N
BACK OFFICE                                            HUANCHA, CUSCO, PERÚ                                                                  CUSCO                                                                 PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            AV FRANCISCO CARLE S/N, JAUJA 12601                                                   JAUJA                                                                 PERU                 UNKNOWN        PRESENT
                                                       AV. AEROPUERTO S/N, DISTRITO DE CERRO COLORADO. PROVINCIA Y DEPARTAMENTO
BACK OFFICE                                            AREQUIPA – PERÚ                                                                       AREQUIPA                                                              PERU                 UNKNOWN        PRESENT
                                                       AV. AVIACIÓN S/N, DISTRITO DE JULIACA, PROVINCIA DE SAN ROMÁN. DEPARTAMENTO
BACK OFFICE                                            DE PUNO – PERÚ                                                                        JULIACA                                                               PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            AV. CORPAC # 274 CASTILLA – PIURA                                                     PIURA                                                                 PERU                 UNKNOWN        PRESENT
                                                       AV. EJÉRCITO NRO. 950, DISTRITO DE AYACUCHO, PROVINCIA DE HUAMANGA
BACK OFFICE                                            DEPARTAMENTO DE AYACUCHO– PERÚ                                                        AYACUCHO                                                              PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            AV. JOSE ABELARDO QUIÑONES, KM 6. IQUITOS DEPARTAMENTO DE LORETO, PERÚ                IQUITOS                                                               PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            CALLE ICA CDRA 6 S/N - SAN ANDRÉS, PISCO.                                             PISCO                                                                 PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            CARRETERA CAJAMARCA – OTUZCO, KM 3, DEPARTAMENTO DE CAJAMARCA, PERÚ                   CAJAMARCA                                                             PERU                 UNKNOWN        PRESENT

BACK OFFICE                                            CARRETERA COSTANERA SUR KM 7 - 8 PAMPA DE PALOS, DISTRITO DE ILO, MOQUEGUA            ILO                                                                   PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            CARRETERA FEDERICO BASADRE KM 5.5, CORONEL PORTILLO, PUCALLPA.                        PUCALLPA                                                              PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            CARRETERA PANAMERICANA SUR S/N, KM 5, TACNA.                                          TACNA                                                                 PERU                 UNKNOWN        PRESENT
                                                       CARRETERA PASTORA-LA JOYA KM 7, DISTRITO Y PROVINCIA DE TAMBOPATA,
BACK OFFICE                                            DEPARTAMENTO DE MADRE DE DIOS– PERÚ                                                   PUERTO MALDONADO                                                      PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            JR. JORGE CHAVEZ Nº 1899 BARRIO HUAYCO, REGIÓN DE SAN MARTÍN – PERÚ                   TARAPOTO                                                              PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            PANAMERICANA NORTE KM 1276, TUMBES, DEPARTAMENTO DE TUMBES, PERÚ.                     TUMBES                                                                PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            SECTOR SHUMBA, DISTRITO DE BELLAVISTA, PROVINCIA DE JAEN.                             JAEN                                                                  PERU                 UNKNOWN        PRESENT
BACK OFFICE                                            TALARA ALTA S/N - PARIÑAS, PIURA                                                      TALARA                                                                PERU                 UNKNOWN        PRESENT
BACK OFFICE, CHECK IN DESK, ADMINISTRATIVE AND
OPERATIONAL                                            AV DE LAS AMERICAS S/N Y AV I AYORA                                                   GUAYAQUIL                                                             ECUADOR              UNKNOWN        PRESENT
BACK OFFICE, COUNTERS AND CARGO AND MAINTENANCE
HOLD                                                   AEROPUERTO INTERNACIONAL MATECAÑA                                                     PEREIRA                      RISARALDA                                COLOMBIA             UNKNOWN        PRESENT
BACK OFFICE, COUNTERS AND MAINTENANCE                  AEROPUERTO EL ALCARAVÁN                                                               YOPAL                        CASANARE                                 COLOMBIA              7/24/2017     PRESENT
BACK OFFICE, FRONT OFFICE AND CARGO HOLD               AEROPUERTO INTERNACIONAL SIMÓN BOLÍVAR                                                SANTAMARTA                   MAGDALENA                                COLOMBIA               2/1/2017     PRESENT

BACK OFFICE, FRONT OFFICE, COUNTERS AND MAINTENANCE    AEROPUERTO INTERNACIONAL ALFREDO VASQUEZ COBO                                         LETICIA                      AMAZONAS                                 COLOMBIA              1/26/2018     PRESENT
BACK OFFICE, FRONT OFFICE, COUNTERS AND WINERY
MAINTENANCE                                            AEROPUERTO INTERNACIONAL ERNESTO CORTISSOZ                                            BARRANQUILLA                 ATLÁNTICO                                COLOMBIA              8/22/2013     PRESENT
BACK OFFICE, FRONT OFFICE, COUNTERS, CARGO
WAREHOUSE AND MAINTENANCE                              AEROPUERTO INTERNACIONAL RAFAEL NÚÑEZ                                                 CARTAGENA                    BOLÍVAR                                  COLOMBIA             10/20/2008     PRESENT
BACK OFFICE, FRONT OFFICE, COUNTERS, PLATFORM SPACE,
LUGGAGE SPACE AND MAINTENANCE                          AEROPUERTO INTERNACIONAL CAMILO DAZA                                                  CÚCUTA                       NORTE DE ANTANDER                        COLOMBIA              11/1/2013     PRESENT
BACK OFFICE, FRONT OFFICE, MAINTENANCE AND CARGO
HOLD                                                   AEROPUERTO ALFONSO LÓPEZ PUMAREJO                                                     VALLEDUPAR                   CESAR                                    COLOMBIA              11/1/2013     PRESENT




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               Description of Location                                        Address 1                                                    City                          State                 Zip         Country   Occupancy From Occupancy To
BAGGAGE                                  AV. DE LAS AMERICAS S/N                                                               GUAYAQUIL                                                             ECUADOR              UNKNOWN        PRESENT
CARGO OFFICE                             ANCHORAGELAAN 38 | FREIGHT STATION 9 | 1118LD SCHIPHOL AIRPORT                        AMSTERDAM                                                             NETHERLANDS            4/1/2020     PRESENT

CARGO OFFICE                             LATAM CARGO DIEGO BARROS ORTIZ PONIENTE, PUDAHUEL, REGIÓN METROPOLITANA               SANTIAGO                                                              CHILE               UNKNOWN        PRESENT
CARGO OFFICE                             PELIKAANWEG 11 | 1118 DT SCHIPHOL AIRPORT                                             AMSTERDAM                                                             NETHERLANDS          8/25/2016    3/31/2020
CARGO OFFICE                             ULTIMAS NOTICIAS Y EL COMERCIO                                                        QUITO                                                                 ECUADOR             UNKNOWN        PRESENT
COMMERCIAL OFFICE                        207 RUE DE BERCY, 75012 PARIS                                                         PARIS                                                                 FRANCE                5/6/2019     PRESENT
COMMERCIAL OFFICE                        A.H. JESUS PODEROSO AV. DE LOS HEROES 100                                             LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. AEROPUERTO S/N                                                                    LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. ALFREDO MENDIOLA 1400                                                             LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. ALFREDO MENDIOLA 3698                                                             LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. ANGAMOS OESTE 662                                                                 LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. AV. ELMER FAUCETT S-N                                                             LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. BENAVIDES S/N INT S/N                                                             LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. COLLASUYO 2964 INT REF.                                                           CUSCO                                                                 PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. CUZCO 245                                                                         LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. DOS DE MAYO 1099                                                                  LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. DOS DE MAYO 1099                                                                  LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. EJERCITO 1009                                                                     LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. EL EJERCITO 793                                                                   LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. EL POLO 740                                                                       LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. EL SOL 602                                                                        LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. EL SOL 627 INT B                                                                  LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. ELMER FAUCETT 2823                                                                LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. ELMER FAUCETT SN                                                                  LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. FAUCETT SN                                                                        LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. FELIPE SANTIAGO SALAVERRY SN                                                      LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. FERROCARRIL S/N                                                                   LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. FRANCISCO BOLOGNESI 300                                                           LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. GARCILAZO DE LA VEGA S N                                                          LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. JAVIER PRADO ESTE 4200                                                            LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. JOSE PARDO 513                                                                    LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. JOSE PARDO 513                                                                    LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. LA MARINA 300                                                                     LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. LA MOLINA 378                                                                     LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. LEON VELARDE 513                                                                  LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. NICOLAS AYLLON S/N                                                                LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. OSCAR R. BENAVIDES 4921                                                           LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. SANTA CRUZ 771                                                                    LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. TOMAS MARSANO 961                                                                 LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. VELASCO ASTETE S/N                                                                LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        AV. VENEZUELA CON A.UGARTE S/N                                                        LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        BASTIONI DI PORTA NUOVA 21 - 20121 MILAN - ITALY                                      MILAN                                                                 ITALY                 6/1/2018     PRESENT
COMMERCIAL OFFICE                        CAL. APURIMAC 101                                                                     LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        CAL. LIBERTAD 875 INT 01                                                              LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        CAL. MARISCAL CASTILLA S/N                                                            LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        CAL. SAN MARTIN 275                                                                   LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        CAL. UCELLO 162                                                                       LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        CC.CC. PLAZA SAN MIGUEL AV. LA MARINA S/N                                             LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        FND. LA ESTRELLA 99B S/N                                                              LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        FND. LAS CASUARINAS LOTE 05                                                           LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        GRU. PAGO SILPAY LA CARMELA LA S/N                                                    LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        JR. 9 DE DICIEMBRE 107                                                                LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        JR. BOLOGNESI 250                                                                     LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        JR. PROSPERO 232                                                                      LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        JR. RAMIREZ HURTADO 183                                                               LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        JR. SAN MARTIN REF.                                                                   LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        JR. SOR MANUELA GIL 151                                                               LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        JR. TACNA 299                                                                         LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        JR. TARAPACA 805                                                                      LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        JR. UCELLO 162                                                                        LIMA                                                                  PERU                UNKNOWN        PRESENT
COMMERCIAL OFFICE                        KAISERSTRAßE 5 - 60311 FRANKFURT AM MAIN - GERMANY                                    FRANKFURT                                                             GERMANY               6/1/2009     PRESENT




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                                                                                                                                                                                                                                   Date of      Date of
                Description of Location                                                 Address 1                                                City                             State                 Zip         Country    Occupancy From Occupancy To
COMMERCIAL OFFICE                                 LUIS ALBERTO DE HERRERA 1248 OF 1476                                                  MONTEVIDEO                                                            URUGUAY                7/30/2018     PRESENT
COMMERCIAL OFFICE                                 OTR. MALDONADO 01 AV. ESQ. LEON VELARDE 503                                           LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 POETA JOAN MARAGALL 1, PLANTA 1, 28020 MADRID - SPAIN                                 MADRID                                                                SPAIN                   8/1/2013     PRESENT
COMMERCIAL OFFICE                                 PRO. PASEO DE LA REPUBLICA S/N                                                        LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 PZA. REGOCIJO 202 INT 112                                                             LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 SEC. FUNDO SANTA LUZMILA AV. ALFREDO MENDIOLA REF. LOTE 02                            LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 SEC. LAMBRAMANI AV. LAMBRAMANI 325 LOTE 2                                             LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 UNIT 20, 2 CODA STUDIO, 189 MUNSTER ROAD, LONDON, SW6 6AW                             LONDRES                                                               UNITED KINGDOM          6/7/2017     PRESENT
COMMERCIAL OFFICE                                 URB. CERCADO JR. TUMBES 391                                                           LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. CHACARILLA DEL ESTANQUE CAL. MONTE BELLO 150                                     LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. CHACARILLA DEL ESTANQUE CAL. MONTE BELLO 150                                     LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. CHACARILLA DEL ESTANQUE JR. MONTERREY 246                                        LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. CHICLAYO CAL. MANUEL MARIA IZAGA 770 INT 1PIS                                    LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. EL INGENIO AV. AMERICA OESTE 750                                                 LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. EL INGENIO AV. AMERICA OESTE 750                                                 LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. LA PASCANA AV. TUPAC AMARU 3900                                                  LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. LAS FLORES 81 AV. PROCERES DE LA INDEPENDEN 1632 LOTE A-2                        LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. LAS GARDENIAS AV. ALFREDO BENAVIDES 5250 LOTE 3                                  LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. LOS SIRIUS II ETAPA CAL. LAS RETAMAS 190                                         LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. MATELLINI AV. PROLONG PASEO DE LA REP. S/N INT S/N                               LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. MIRAFLORES AV. ANDRES A. CACERES 147 INT 51                                      LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. SAN ANTONIO AV. ALFREDO BENAVIDES 1475                                           LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. SANTA CATALINA AV. CANADA 1110                                                   LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. SELVA ALEGRE AV. MARISCAL BENAVIDES 421                                          LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. SIRIUS CAL. RETAMAS 190                                                          LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 URB. VERSALLES DEL CARMEN O PI AV. DE LA CULTURA LOTE 3-4                             LIMA                                                                  PERU                  UNKNOWN        PRESENT
COMMERCIAL OFFICE                                 Z.I. - AV. SANCHEZ CERRO S/N                                                          LIMA                                                                  PERU                  UNKNOWN        PRESENT
CORPORATE OFFICE                                  CALLE 100#7-33                                                                        BOGOTA                       CUNDINAMARCA                             COLOMBIA              11/19/2015   12/1/2018
COUNTER, BACK OFFICE, LUGGAGE STORAGE AND CARGO
HOLD                                              AEROPUERTO INTERNACIONAL LOS GARZONES                                                 MONTERÍA                     CÓRDOBA                                  COLOMBIA              11/2/2010     PRESENT
DOMESTIC CARGO WAREHOUSE                          AEROPUERTO INTERNACIONAL PALONEGRO                                                    BUCARAMANGA                  SANTANDER                                COLOMBIA               9/1/2013     PRESENT
                                                  ALMACENES FAST AIR OSVALDO CROQUEVILLE 2207, PUDAHUEL, REGIÓN
FAST OFFICE                                       METROPOLITANA                                                                         SANTIAGO                                                              CHILE                UNKNOWN        PRESENT
FRONT OFFICE / BACK OFFICE / SALES OFFICE         AUTOPISTA NTE. #34-67 CENTRO COMERCIAL PUERTA DEL NORTE                               MEDELLIN                     ANTIOQUIA                                COLOMBIA               6/8/2019     PRESENT
FRONT OFFICE / BACK OFFICE / SALES OFFICE         AV. RICARDO MORGAN 575, MONTERREY                                                     MONTERREY                    NUEVO LEON                               MEXICO               UNKNOWN        PRESENT
FRONT OFFICE / BACK OFFICE / SALES OFFICE         AVENIDA 4 NORTE #46 LOCAL335. CENTRO COMERCIAL CENTENARIO                             CALI                         VALLE DEL CAUCA                          COLOMBIA              7/28/2017    5/25/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         AVENIDA NQS CON 38A SUR                                                               BOGOTA                       CUNDINAMARCA                             COLOMBIA              6/22/2016     8/1/2018
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CALLE 100 #7-33 PISO 17 BUSINESS WORK PLACE                                           BARRANQUILLA                 ATLÁNTICO                                COLOMBIA              4/15/2017    4/30/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CALLE 185 #45-03 CENTRO COMERCIAL SANTAFE                                             BOGOTA                       CUNDINAMARCA                             COLOMBIA              6/12/2017    5/14/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CALLE 74 #38D-113                                                                     BARRANQUILLA                 ATLÁNTICO                                COLOMBIA              4/20/2017     3/7/2018
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CALLE ARICA 628 PISO 5, MIRAFLORES                                                    LIMA                                                                  PERU                 UNKNOWN        PRESENT
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CARRERA 100 #98-16. CENTRO COMERCIAL JARDÍN PLAZA                                     CALI                         VALLE DEL CAUCA                          COLOMBIA               9/4/2013     PRESENT
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CARRERA 11B # 99-25                                                                   BOGOTA                       CUNDINAMARCA                             COLOMBIA              12/1/2018     5/1/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CARRERA 26 #62-47. CENTRO COMERICAL GRAN ESTACIÓN                                     BOGOTA                       CUNDINAMARCA                             COLOMBIA              5/12/2016    3/31/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CARRERA 42 # 5 SUR - 145,                                                             MEDELLIN                     ANTIOQUIA                                COLOMBIA               2/1/2020     5/1/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CARRERA 71D #6-94 SUR. CENTRO COMERCIAL PLAZA DE LAS AMÉRICAS                         BOGOTA                       CUNDINAMARCA                             COLOMBIA               6/7/2017    5/15/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CARRERA 72# 80-94 CENTRO COMERCIAL TITAN                                              BOGOTA                       CUNDINAMARCA                             COLOMBIA               8/1/2019    5/15/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CL. 38 NTE. #6N – 45. CENTRO COMERCIAL CHIPICHAPE                                     CALI                         VALLE DEL CAUCA                          COLOMBIA              4/12/2017     PRESENT
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CLL 100 #8A-49 TORRE B PISO 11 EDF. WTC.                                              BOGOTA                       CUNDINAMARCA                             COLOMBIA              8/16/2018   11/30/2018
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CR 43 A 30 25 LC 1148. CENTRO COMERCIAL PREMIUM PLAZA                                 MEDELLIN                     ANTIOQUIA                                COLOMBIA              6/15/2019    5/17/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CRA 48 # 50 SUR - 128                                                                 MEDELLIN                     SABANETA                                 COLOMBIA               6/7/2018    5/27/2019
FRONT OFFICE / BACK OFFICE / SALES OFFICE         CRA. 11 #1153. CENTRO COMERCIAL CACIQUE                                               BUCARAMANGA                  SANTANDER                                COLOMBIA             10/18/2017    4/23/2020
FRONT OFFICE / BACK OFFICE / SALES OFFICE         PAMPITE S/N Y DARIO DONOSO EDIF.OFFICENTER PISO 1 OFC 112                             GUAYAQUIL                                                             ECUADOR              UNKNOWN        PRESENT
FRONT OFFICE / BACK OFFICE / SALES OFFICE         TRV 93#51-98                                                                          BOGOTA                       CUNDINAMARCA                             COLOMBIA              11/1/2011    7/24/2017
FRONT OFFICE / BACK OFFICE / SALES OFFICE         VIA AL PUERTO MARITIMO KM 3.5 AV. 25 DE JULIO S/N Y SAN MIGU                          GUAYAQUIL                                                             ECUADOR              UNKNOWN        PRESENT
HANGAR                                            AEROPUERTO INTERNACIONAL EL DORADO                                                    BOGOTA                       CUNDINAMARCA                             COLOMBIA              7/27/2017     PRESENT
HANGAR, BACK OFFICE, CHECK IN DESK                VIA A TABABELA S/N Y VIA YARUQUI                                                      QUITO                                                                 ECUADOR              UNKNOWN        PRESENT
KIOSKS                                            AEROPUERTO INTERNACIONAL DE LA CIUDAD DE MÉXICO                                       CDMX                                                                  MEXICO               UNKNOWN        PRESENT
LUGGAGE STORAGE                                   AEROPUERTO INTERNACIONAL ALFONSO BONILLA ARAGÓN                                       CALI                         VALLE DEL CAUCA                          COLOMBIA              3/13/2019     PRESENT
MAINTENANCE                                       AV. ESPAÑA S/N Y ELIA LIUT                                                            CUENCA                                                                ECUADOR              UNKNOWN        PRESENT
MAINTENANCE                                       AVE DE LAS AMERICAS S/N ISIDRO AYORA                                                  GPS                                                                   ECUADOR              UNKNOWN        PRESENT
MAINTENANCE                                       BUENOS AIRES Y AV. 10 DE AGO                                                          QUITO                                                                 ECUADOR              UNKNOWN        PRESENT




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                                                                                                                                                                                                                             Date of      Date of
                  Description of Location                                        Address 1                                                  City                            State                Zip           Country   Occupancy From Occupancy To
OFFICE PROPERTY                             222 PACIFIC COAST HWY                                                                 EL SEGUNDO                   CA                             90245                           UNKNOWN        PRESENT
OFFICE PROPERTY                             380 WORLD WAY GATE 152                                                                LOS ANGELES                  CA                             90045                           UNKNOWN        PRESENT
OFFICE PROPERTY                             380 WORLD WAY, SUITE 3212                                                             LOS ANGELES                  CA                             90045                           UNKNOWN        PRESENT
OFFICE PROPERTY                             600 THIRD AVE , 15TH FLOOR                                                            NEW YORK                     NY                             10016                           UNKNOWN        PRESENT
OFFICE PROPERTY                             9403 JEFF FUQUA BOULEVARD, SUITE 8360                                                 ORLANDO                      FL                             32827                           UNKNOWN        PRESENT
                                            AEROPUERTO INTERNACIONAL DE CANCÚN CARRETERA CANCUN-CHETUMAL KM22
OFFICE PROPERTY                             75220                                                                                 CANCUN                       QUINTANA ROO                            MEXICO                UNKNOWN        PRESENT
OFFICE PROPERTY                             AV. NACIONES UNIDAS S/N Y AV. DE LOS SHYRIS                                           QUITO                                                                ECUADOR               UNKNOWN        PRESENT
OFFICE PROPERTY                             JFK TERMINAL 8 23-260A                                                                JAMAICA                      NY                             11430                          UNKNOWN        PRESENT
OFFICE PROPERTY                             JFK TERMINAL 8 RM 10-259F                                                             JAMAICA                      NY                             11430                          UNKNOWN        PRESENT
OFFICE PROPERTY                             PASEO DE LA REFORMA 243 PISO 19 COL. CUAUHTEMOC CDMX                                  CDMX                                                                 MEXICO                UNKNOWN        PRESENT
OFFICE PROPERTY                             TERMINAL A, LATAM MAINTENANCE OFFICE                                                  ORLANDO                      FL                             32827                          UNKNOWN        PRESENT
OFFICE PROPERTY                             TERMINAL DE CARGAS DEL URUGUAY OF 110                                                 CANELONES                                                            URUGUAY                 6/1/2010     PRESENT
OFFICE PROPERTY                             TERMINAL E COMMONLY REFERRED TO AS “ROOM 187                                          BOSTON                       MA                                                            UNKNOWN        PRESENT
PARKING LOT                                 AMERICO VESPUCIO 901, RENCA                                                           SANTIAGO                                                             CHILE                 11/19/2019     PRESENT
PARKING LOT                                 AV. PDTE. RIESCO 5711, LAS CONDES.                                                    SANTIAGO                                                             CHILE                 11/19/2019     PRESENT
PREFERRED AIRPORT COUNTER                   AEROPUERTO JORGE CHAVEZ                                                               LIMA                                                                 PERU                    1/1/2019     PRESENT
TICKET OFFICE (CTO)                         AEROP.INTERN PADRE J.A S/N INT S/N                                                    LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AEROPUERTO C FAP FCO SEGADA VIGNETTA SN INT SN                                        LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AEROPUERTO C FAP G. DEL CASTILLO P. SN INT SN                                         LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AEROPUERTO C FAP GUILLERMO CONCHA I SN INT SN                                         LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AEROPUERTO DE TALARA SN                                                               LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AERP CAP FAP D.ABENSUR.R S/N INT S/N                                                  LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AK 104 #148-07 LOCAL 2-13. CENTRO COMERCIAL PLAZA IMPERIAL                            BOGOTA                       CUNDINAMARCA                            COLOMBIA                7/1/2018     PRESENT
                                            ALTO LAS CONDES - AV. PRESIDENTE KENNEDY N° 9001, LOCAL 2181, 2DO. NIVEL, LAS
TICKET OFFICE (CTO)                         CONDES                                                                                SANTIAGO                                                             CHILE                 11/18/2010     PRESENT
TICKET OFFICE (CTO)                         APTO CAP FAP JOSE ABELARD S/N                                                         LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         APTO CAP JOSE QUIÑONEZ G. SN                                                          CHICLAYO                                                                                   UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         APTO CNEL FAP F SECADA V. S/N                                                         LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         APTO CRNL CARLOS CIRIANI SN                                                           LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         APTO INCA MANCO CAPAC SN                                                              JULIACA                                                                                    UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         APTO TNTE A RODRIGUEZ B. SN                                                           LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         APTO TNTE A. VELASCO A. SN                                                            CUSCO                                                                                      UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         APTO TNTE CARLOS MARTINEZ SN                                                          TRUJILLO                                                                                   UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         APTO. CAP. FAP C.MARTINEZ S/N                                                         LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         APUMANQUE - AV. MANQUEHUE SUR N° 031, LOCAL 20-22, LAS CONDES                         SANTIAGO                                                             CHILE                 10/19/2009     PRESENT
TICKET OFFICE (CTO)                         ARTURO PRAT 391                                                                       ARICA                                                                CHILE                 10/30/2006     PRESENT
TICKET OFFICE (CTO)                         ARTURO PRAT 445                                                                       ANTOFAGASTA                                                          CHILE                  5/30/2004     PRESENT
TICKET OFFICE (CTO)                         AV SANTA FE 3596                                                                      BUENOS AIRES                                                         ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. ALEMANIA 585-B                                                                    TEMUCO                                                               CHILE                   2/1/2019     PRESENT
                                            AV. ALFREDO MENDIOLA 3698 TIENDA 112, 2DO PISO - CENTRO COMERCIAL
TICKET OFFICE (CTO)                         MEGAPLAZA - INDEPENDENCIA                                                             LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. AMÉRICA OESTE 750 TIENDA 1055A.                                                   TRUJILLO                                                             PERU                  UNKNOWN        PRESENT
                                            AV. ANDRÉS AVELINO CÁCERES 147 LC 51 URB. MIRAFLORES, CASTILLA - CENTRO
TICKET OFFICE (CTO)                         COMERCIAL OPEN PLAZA PIURA - PIURA                                                    PIURA                                                                PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. ANIBAL PINTO 699                                                                  IQUIQUE                                                              CHILE                   4/1/2012     PRESENT
TICKET OFFICE (CTO)                         AV. BALMACEDA 2885, LOCAL 133 Y 134                                                   LA SERENA                                                            CHILE                  9/23/2019     PRESENT
TICKET OFFICE (CTO)                         AV. BLANCO 180                                                                        CASTRO                                                               CHILE                   2/1/2015     PRESENT
TICKET OFFICE (CTO)                         AV. COLIPÍ 484                                                                        COPIAPÓ                                                              CHILE                   1/1/2018     PRESENT
                                            AV. COLLASUYO LOCAL 2964, 1ER PISO LC 100C - CENTRO COMERCIAL REAL PLAZA
TICKET OFFICE (CTO)                         CUSCO - CUSCO                                                                         CUSCO                                                                PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. EJERCITO 793 CENTRO COMERCIAL, MALL PLAZA B-1005 PISO 1 - CAYMA                   AREQUIPA                                                             PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. EJERCITO 950                                                                      LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. EL POLO 740 TIENDA A-217, 2DO PISO – CENTRO COMERCIAL EL POLO - SURCO             LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. EL SOL 840, CERCADO - CUSCO                                                       CUSCO                                                                PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. ESMERALDA 1044                                                                    VALPARAÍSO                                                           CHILE                  4/1/1997      PRESENT
                                            AV. FELIPE SANTIAGO SALAVERRY CUADRA 24, LC 111 Y 112 - CENTRO COMERCIAL REAL
TICKET OFFICE (CTO)                         PLAZA SALAVERRY - JESÚS MARÍA                                                         LIMA                                                                 PERU                  UNKNOWN        PRESENT
                                            AV. GARCILAZO DE LA VEGA 1337 TIENDA 1001 - CENTRO COMERCIAL REAL PLAZA
TICKET OFFICE (CTO)                         CENTRO CÍVICO - CERCADO DE LIMA                                                       LIMA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. GRAMADO 560                                                                       PUERTO VARAS                                                         CHILE                  2/1/1999      PRESENT
TICKET OFFICE (CTO)                         AV. HOYOS RUBIO S N                                                                   LIMA                                                                 PERU                  UNKNOWN        PRESENT




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                                                                                                                                                                                                                              Date of      Date of
                  Description of Location                                        Address 1                                                    City                          State                 Zip           Country   Occupancy From Occupancy To
TICKET OFFICE (CTO)                         AV. ISIDORA GOYENECHEA N° 2888, LAS CONDES                                            SANTIAGO                                                              CHILE                   12/1/2017     PRESENT
TICKET OFFICE (CTO)                         AV. J. ALESSANDRI 3177 LOCAL BS 184-188                                               CONCEPCION                                                            CHILE                   6/26/2013     PRESENT
                                            AV. JAVIER PRADO ESTE 4200 TIENDA 202, 2DO PISO – CENTRO COMERCIAL JOCKEY
TICKET OFFICE (CTO)                         PLAZA - SURCO, CTO                                                                    LIMA                                                                  PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. JOSE PARDO 513 - MIRAFLORES                                                       LIMA                                                                  PERU                  UNKNOWN      10/31/2019
TICKET OFFICE (CTO)                         AV. JUAN TANCA MARENGO Y AV. JOAQUIN ORRANTIA                                         GUAYAQUIL                                                             ECUADOR               UNKNOWN        PRESENT
                                            AV. LA MARINA 2000 TIENDA 236-A, 2DO PISO – CENTRO COMERCIAL PLAZA SAN
TICKET OFFICE (CTO)                         MIGUEL - SAN MIGUEL                                                                   LIMA                                                                  PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. LEÓN VELARDE 503 - PUERTO MALDONADO                                               PUERTO MALDONADO                                                      PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. LIBERTAD 1348. MALL MARINA ARAUCO                                                 VIÑA DEL MAR                                                          CHILE                   9/2/1999     PRESENT
TICKET OFFICE (CTO)                         AV. MAIPÚ 271                                                                         VALDIVIA                                                              CHILE                  8/19/2003     PRESENT
TICKET OFFICE (CTO)                         AV. NUÑEZ 4663                                                                        CIUDAD DE CÓRDOBA            CORDOBA                                  ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AV. O´HIGGINS 569                                                                     OSORNO                                                                CHILE                   9/1/2019     PRESENT
                                            AV. TOMÁS MARSANO 961 LC 10 - CENTRO COMERCIAL OPEN PLAZA ANGAMOS -
TICKET OFFICE (CTO)                         SURQUILLO                                                                             LIMA                                                                  PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         AVENIDA ACONQUIJA 2122                                                                SAN MIGUEL DE TUCUMÁN                                                 ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         BALMACEDA 406 (FUSION LOCAL 406 Y 410)                                                LA SERENA                                                             CHILE                   7/1/2005   11/30/2019
TICKET OFFICE (CTO)                         CABILDO 1072                                                                          BUENOS AIRES                                                          ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         CALLE 19# 8-34                                                                        PEREIRA                      RISARALDA                                COLOMBIA               2/15/2005    5/17/2020
TICKET OFFICE (CTO)                         CALLE 8 # 22-23                                                                       YOPAL                        CASANARE                                 COLOMBIA                5/1/2012     3/1/2018
TICKET OFFICE (CTO)                         CALLE 8 NRO. 869                                                                      BUENOS AIRES                                                          ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         CALLE APURIMAC 101 ESQUINA CON AV. BOLOGNESI - TACNA                                  TACNA                                                                 PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         CALLE MANUEL MARÍA IZAGA Nº 770 - CHICLAYO                                            CHICLAYO                                                              PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         CAR. PANAMERICANA NORTE S N                                                           LIMA                                                                  PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         CARRERA 7#32-48. CENTRO COMERICAL SAN MARTÍN                                          BOGOTA                       CUNDINAMARCA                             COLOMBIA               7/11/2011     PRESENT
TICKET OFFICE (CTO)                         CASEROS 476                                                                           CIUDAD DE SALTA              SALTA                                    ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         CHICLANA 344                                                                          BAHIA BLANCA                 BUENOS AIRES                             ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         COSTANERA CENTER - AV. ANDRÉS BELLO 2425 LOCAL 1218, PROVIDENCIA                      SANTIAGO                                                              CHILE                   2/1/2017     PRESENT
TICKET OFFICE (CTO)                         CR 29 #45-45 LOCAL 102. METROPOLITAN BUSINESS PARK                                    BUCARAMANGA                  SANTANDER                                COLOMBIA              12/23/2014     PRESENT
TICKET OFFICE (CTO)                         CRA. 29 ## 14-47. CENTRO COMERCIAL UNICENTRO                                          YOPAL                        CASANARE                                 COLOMBIA                3/8/2018    3/30/2020
TICKET OFFICE (CTO)                         DUARTE QUIRÓS Nº 1400                                                                 CIUDAD DE CÓRDOBA            CORDOBA                                  ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         ELEUTERIO RAMIREZ 802                                                                 OSORNO                                                                CHILE                   9/1/2003    9/30/2019
TICKET OFFICE (CTO)                         ESTADO 82                                                                             SANTIAGO                                                              CHILE                   2/6/2015    3/31/2020
                                            FLORIDA CENTER - AV. VICUÑA MACKENNA N° 6100, LOCAL 2089, 2DO. PISO, LA
TICKET OFFICE (CTO)                         FLORIDA                                                                               SANTIAGO                                                              CHILE                  5/12/2011     PRESENT
TICKET OFFICE (CTO)                         HIDALGO 26                                                                            BUENOS AIRES                                                          ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         IRIGOYEN 347                                                                          CIUDAD DE NEUQUÉN            NEUQUÉN                                  ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         JR. 9 DE DICIEMBRE 107                                                                AYACUCHO                                                              PERU                  UNKNOWN        PRESENT
                                            JR. MONTERREY 246 TIENDA 002, 1ER PISO – CENTRO COMERCIAL CAMINO DEL INCA -
TICKET OFFICE (CTO)                         SURCO                                                                                 LIMA                                                                  PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         JR. PRÓSPERO 232 - IQUITOS                                                            IQUITOS                                                               PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         JR. RAMIREZ HURTADO 183 - TARAPOTO                                                    TARAPOTO                                                              PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         JR. SOR MANUELA GIL 151 1ER NIVEL, CENTRO COMERCIAL EL QUINDE - CAJAMARCA             CAJAMARCA                                                             PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         JR. TACNA 299 - PUNO                                                                  PUNO                                                                  PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         JR.TARAPACÁ 805 - PUCALLPA                                                            PUCALLPA                                                              PERU                  UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         JUNIN 501                                                                             ROSARIO                 SANTA FE                                      ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         LAPRIDA 176                                                                           SAN MIGUEL DE TUCUMÁN                                                 ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         MALL ESPACIO URBANO 1110 LOCAL 3                                                      PUNTA ARENAS                                                          CHILE                  4/18/2005     PRESENT
TICKET OFFICE (CTO)                         MANUEL BULNES 687                                                                     TEMUCO                                                                CHILE                   7/1/2002    5/31/2019
TICKET OFFICE (CTO)                         MANUEL BULNES 697 DPTO 5                                                              TEMUCO                                                                CHILE                   7/1/2002    5/31/2019
TICKET OFFICE (CTO)                         MITRE 534                                                                             SAN CARLOS DE BARILOCHE BARILOCHE                                     ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         O¨HIGGINS 167 EDIFICIO PLAZA                                                          PUERTO MONTT                                                          CHILE                 12/30/1997    3/23/2020
TICKET OFFICE (CTO)                         PARANA 3745                                                                           BUENOS AIRES                                                          ARGENTINA             UNKNOWN        PRESENT

TICKET OFFICE (CTO)                         PARQUE ARAUCO - AV. PRESIDENTE KENNEDY N° 5413, LOCAL 503, 1 NIVEL, LAS CONDES        SANTIAGO                                                              CHILE                   9/1/2015     PRESENT
TICKET OFFICE (CTO)                         PLAZA EGAÑA - AV. LARRAIN 5862, LOCAL S-1044, NIVEL 0, LA REINA                       SANTIAGO                                                              CHILE                  11/8/2018     PRESENT
                                            PLAZA OESTE - AV. AMÉRICO VESPUCIO N° 1501, LOCAL BS-108 BOULEVARD
TICKET OFFICE (CTO)                         FINANCIERO, CERRILLOS                                                                 SANTIAGO                                                              CHILE                  7/17/2015     PRESENT
TICKET OFFICE (CTO)                         POMASQUI / SAN JOSE LOTE 3.                                                           QUITO                                                                 ECUADOR               UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         RAPA NUI - AV. ATAMU TEKENA ESQUINA AV. PONT S/N                                      ISLA DE PASCUA                                                        CHILE                   9/1/2010     PRESENT
TICKET OFFICE (CTO)                         RIVADAVIA 256                                                                         CIUDAD DE MENDOZA            MENDOZA                                  ARGENTINA             UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         SAN LORENZO 309 PB                                                                    CIUDAD DE CÓRDOBA            CORDOBA                                  ARGENTINA             UNKNOWN        PRESENT




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                                                                                                                  Case No. 20-11257
                                                 SOFA: Part 7, Question 14 - Previous locations of debtor, all premises occupied and vacated within 3 years preceding commencement of this case




                                                                                                                                                                                                                            Date of      Date of
                  Description of Location                                        Address 1                                                  City                            State                 Zip         Country   Occupancy From Occupancy To
TICKET OFFICE (CTO)                         SAN MARTIN SUR 2875                                                                   CIUDAD DE MENDOZA            MENDOZA                                  ARGENTINA            UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         SANTA FE 1120                                                                         ROSARIO                      SANTA FE                                 ARGENTINA            UNKNOWN        PRESENT
TICKET OFFICE (CTO)                         SARMIENTO 2685                                                                        BUENOS AIRES                                                          ARGENTINA            UNKNOWN        PRESENT
TICKET OFFICE (CTO)                                                                                                               AREQUIPA                                                              PERU                 UNKNOWN        PRESENT
TICKET OFFICE (CTO)                                                                                                               LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. AEROPUERTO CAPITAN FAP DAVID ABENZUR RENGIFO S/N                                LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. AEROPUERTO CAPITÁN FAP RENÁN ELÍAS OLIVERA S/N                                  LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. AEROPUERTO DE ILO S/N                                                           LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. AEROPUERTO DE JAEN S/N                                                          LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. CAPITAN FAP GUILLERMO CONCHA IBERICO S/N                                        LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. CAPITAN FAP JOSE A. QUIÑONES GONZALES S/N                                       LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. CAPITAN FAP PEDRO CANGA RODRIGUEZ S/N                                           LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. CAPITAN FAP VICTOR MONTES ARIAS S/N                                             LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. CAPITAN FAP VICTOR MONTES ARIAS S/N                                             LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. COMANDANTE FAP GUILLERMO DEL CASTILLO PAREDES S/N                               LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. CORONEL FAP CARLOS CIRIANI SANTA ROSA S/N                                       LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. CORONEL FAP FRANCISCO SECADA VIGNETTA S/N                                       LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. FRANCISCO CARLE S/N                                                             LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. INT. ALEJANDRO VELASCO ASTETE S/N                                               LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. INT. ALFREDO RODRIGUEZ BALLON S/N                                               LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. INT. CAPITAN FAP ALFREDO MENDIVIL DUARTE S/N                                    LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. INT. CAPITÁN FAP CARLOS MARTÍNEZ DE PINILLOS S/N                                LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. INT. INCA MANCO CAPAC S/N                                                       LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. INT. JORGE CHAVEZ S/N                                                           LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. INT. PADRE JOSÉ DE ALDALMIZ S/N                                                 LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   APTO. MAYOR GENERAL FAP ARMANDO REVOREDO IGLESIAS S/N                                 LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   AV. ELMER FAUCETT 3825                                                                LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   AV. ELMER FAUCETT AEROPUERTO JORGE CHAVEZ S/N                                         LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   AV. ELMER FAUCETT S/N                                                                 LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   AV. OQUENDO MZ H R LOTE 1,2                                                           LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   AV. PROLONGACION FAUCETT S/N                                                          LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   CAR. AUTOPISTA PANAME. SUR 2001                                                       LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   CAR. COSTANERA SUR KM 7-8                                                             LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   FND. SAN AGUSTIN AV. CORONEL NESTOR GAMBETTA 3271                                     LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   JOSE ALAVEDRA TAMA SLS. 14-21 Y FRANCISCO RODRIGUEZ GARZON                            GUAYAQUIL                                                             ECUADOR              UNKNOWN        PRESENT
WAREHOUSE                                   OTR. AERP SAN ANDRES S/N                                                              LIMA                                                                  PERU                 UNKNOWN        PRESENT
WAREHOUSE                                   URB. INDUSTRIAL BOCANEGRA CAL. UNO MZ B LOTE 3                                        LIMA                                                                  PERU                 UNKNOWN        PRESENT




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                                                                                                                        SOFA Part 10, Question 20 - Off-premises storage



                                                                                                                                                                                                                                                             Debtor Still in Possession
               Storage Company                                    Address1                           Address2                   Address3                       City             State   Zip             Country               Description of Contents               (Yes / No)
ALMACENAMIENTO DE DOCUMENTOS, SA DE CV         TLALNEPANTLA                                                                                           MÉXICO                                         MEXICO       ARCHIVED DOCUMENTS                        YES
ALPHA BROKERS CORPORATION                      5900 NW 97TH AVE                                                                                       MIAMI                FL           33178                     ON-BOARD SUPPLIES                         YES
ALPOPULAR ALMACEN GENERAL DE DEPÓSITOS S.A -
ALPOPULAR S.A                                  DIAGONAL 24C #96B - 50                                                                                 BOGOTÁ                                         COLOMBIA     ARCHIVED DOCUMENTS                        YES
                                               CARRERA 69 F NO. 17-45 ZONA INDUSTRIAL
AMERICAN LOGISTIC SAS                          MONTEVIDEO                                                                                             BOGOTÁ                                         COLOMBIA     MARKETING MATERIAL (P.O.P)                YES
CEVA FREIGHT LLC                               5601 NW 72ND AVENUE                                                                                    MIAMI                FL           33166-4207                EQUIPMENT FOR PLANE LAYOUT (SEATS, ETC)   YES
                                               OSE ALAVEDRA TAMA SLS. 14-21 Y FRANCISCO
CITYBOX                                        RODRIGUEZ GARZON                                                                                       GUAYAQUIL            EC                        ECUADOR      FURNITURE                                 YES
                                               BOULEVARD PONIENTE 1313, PARQUE 11,                                                                                                                                ON-BOARD SUPPLIES, EQUIPMENT FOR PLANE
DHL SUPPLY CHAIN CHILE S.A                     PUDAHUEL                                                                                               SANTIAGO                                       CHILE        LAYOUT AND PROCUREMENT MATERIALS          YES
EXTRA SPACE STORAGE                            1017 E EL SEGUNDO BLVD                                                                                 LOS ANGELES          CA           90245                     ARCHIVED DOCUMENTS                        YES
                                               PAMPITE S/N Y DARIO DONOSO EDIF.OFFICENTER
FILESTORAGE                                    PISO 1 OFC 112                                                                                         QUITO                                          ECUADOR      ARCHIVED DOCUMENTS                        YES
GATE GOURMET COLOMBIA                          AV. CALLE 26 N° 92 – 32 LOTE 1                                                                         BOGOTÁ                                         COLOMBIA     CATERING MATERIALS                        YES
                                               AV. LA CHUTANA MZ. Q LT. 04 " Z.I. LA CHUTANA,
GRM DOCUMENT MANAGEMENT                        CHILCA CAÑETE - LIMA                                                                                   LIMA                                           PERU         ARCHIVED DOCUMENTS                        YES
IMC (INTERNATIONAL MEAL COMPANY)               CRA 103 # 25B 74                                                                                       BOGOTÁ                                         COLOMBIA     CATERING MATERIALS                        YES
INVERSIONES MARITIMAS UNIVERSALES DEPOSITOS
S.A.                                           CAL PIEDRA LIZA MZA M LOTE B ZAGR FUNDO LA
                                               TABOADA                                                                                                                                               PERU         ON-BOARD SUPPLIES                         YES
IRON MOUNTAIN                                  2925 NW 120TH TERRACE,                                                                                 MIAMI                FL           33167                     ARCHIVED DOCUMENTS                        YES
                                               CALLE LOS CLAVELES SECTOR 3 URB. LAS PRADERAS
IRON MOUNTAIN                                  DE LURÍN                                                                                               LURÍN                                          PERU         ARCHIVED DOCUMENTS                        YES
IRON MOUNTAIN                                  AV. ELMER FAUCETT 3462                                                                                 CALLAO                                         PERU         ARCHIVED DOCUMENTS                        YES
KUEHNE & NAGEL, S.A.                           AVDA JAIME III - 21 - 07012                                                                            PALMA DE MALLORCA                 7012         SPAIN        ON-BOARD SUPPLIES                         YES
                                               VIA AL PUERTO MARITIMO KM 3.5 AV. 25 DE JULIO
PORTRANS                                       S/N Y SAN MIGU                                                                                         GUAYAQUIL                                      ECUADOR      UNIFORMS                                  YES
U STORAGE VIADUCTO S.A. DE C.V.                VIAD. RÍO DE LA PIEDAD 571                    COL. GRANJAS MÉXICO        ALCALDIA IZTACALCO            MÉXICO                            08400        MEXICO       FURNITURE                                 YES




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              SOFA Part 13, Question 26b - Firms or individuals who audited the books and records or prepared a financial statement within 2 years preceding commencement of this case


                                                                                                                                                                                  Beginning     Ending
                         Name                                                       Address                                       City           State    Zip         Country       Dates       Dates
                                                             AV. CIRCUNVALACION DEL GOLF LOS INCAS 208, TORRE 3
ADECCO PERU S.A.                                             101 B, SANTIAGO DE SURCO - LIMA 1                         LIMA                                    1   PERU                  2017 3/1/2020
PRICE WATERHOUSE & CO. ASESORES DE EMPRESAS S.R.L.           BOUCHARD 557, C1106 CABA                                  BUENOS AIRES                         1106   ARGENTINA             2018 Present
PRICEWATERHOUSECOOPERS DEL ECUADOR CIA. LTDA.                AV. 9 NO 702, GUAYAQUIL 090514                            GUAYAQUIL                           90514   ECUADOR               2018 Present
DELOITTE AUDITORES Y CONSULTORES LTDA                        CARLOTA TORRES, ROSARIO NTE 407, LAS CONDES               SANTIAGO                           756156   CHILE                  N/A Present
                                                             AV. ANDRES BELLO 2711, LAS CONDES, REGION
PRICEWATERHOUSECOOPERS CONSULTORES AUDITORES SPA.            METROPOLITANA                                             SANTIAGO                          7550611 CHILE                   2018   Present




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                                   SOFA Part 13, Question 28 - List the debtor’s officers, directors, managing members, general partners, members in control or controlling shareholders



                     Name                                                 Address                              City         State      Zip       Position and nature of any interest       Percentage of interest, if any
Holdco Ecuador, S.A.                                Apoquindo #3721 131/13, Chile                       Santiago                              Shareholder                                                       45.00000%
Lan Pax Group, S.A.                                 Av. Presidente Riesco #5711 Depto. #2001 Chile      Santiago                              Shareholder                                                       55.00000%
Carlos Egues                                        Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Operations Director
Daniel Alberto Leng                                 Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Board director
Daniel Leng                                         Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            CEO
Edgar Andrade                                       Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Comercial Director
FYC Representaciones Professional Counsellor C.I.   Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Board director
Julianna Cobo                                       Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Finance and HR Director
Maria Herdoiza                                      Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Airport Director
Mariela Anchundia                                   Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Legal Director
Mauricio Almeida                                    Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Maintenance Director
Maximiliano Naranjo                                 Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Board director
Xavier Rivera García                                Conector Alpachaca S/N Edificio, Quito Airport Center,
                                                                                                        Quito
                                                                                                           Ecuador                            Board chairman




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